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            EXHIBIT A
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       Brookdale – Brookhurst Facility                                                                       Access Compliance Evaluation Survey Barrier Report
       15302 Brookhurst St., Westminster, CA 92683                                                          Survey Date: June 19, 2019 / Report Date: August 5, 2021
Item   Element               Item Requirement                              2019 CBC    1998 CBC     ADAAG    2010 ADA    Barrier, Barrier Removal and Photos
                                                                                        & CPC                Standards

Overview
Three-story facility with 102 assisted living and 15 memory care sleeping rooms, common areas and parking lot. The facility was originally constructed at a time that
the 1998 CBC and 1991 ADA Standards for Accessible Design (ADAAG) standards applied. The inspection included all common areas, parking lot and all assisted
living rooms to which I was permitted access.
Abbreviations
AFF                       Above finish floor
ISA                       International Symbol of Accessibility
PROW                      Pedestrian right of way
        Primary Building Main Entrance/Exit Porte Cochere with Six Guest/Visitor Parking Spaces
Primary Building Main Entrance/Exit Porte Cochere with Six Guest/Visitor Parking Spaces
At least one accessible parking space is required in this lot, including at least one that is van accessible; two spaces are provided that are designated accessible,
including one designated as van accessible
        Double Designated Accessible Parking Space at Main Entrance
Double Designated Accessible Parking Space at Main Entrance
Left stall designated “VAN ACCESSIBLE”; Both designated ”GUEST PARKING ONLY”
 1     Tow Away              Does the tow away warning signage             11B-        1129B.5     N/A       N/A         Barrier: A single tow away warning sign is posted at the lot entrance
       Warning               clearly state “Unauthorized vehicles          502.8.2                                       but does not include contact information and the wording is outdated,
       Signage               parked in designated accessible spaces                                                      stating: “Unauthorized vehicles not displaying distinguishing placards
                             not displaying distinguishing placards or                                                   or license plates issued for disabled persons will be towed away at
                             special license plates issued for persons                                                   owner’s expense. Towed vehicles may be reclaimed at _____ or by
                             with disabilities will be towed away at the                                                 telephoning _____ “
                             owner’s expense. Towed vehicles may                                                         Barrier Removal: Remove and replace existing sign on existing
                             be reclaimed at ___or by                                                                    standard using correct wording and appropriate contact information.
                             telephoning___” with the appropriate                                                        Photos: 0793 & 0831
                             contact information filled in as a
                             permanent part of the sign?
 2     Surface               Is the surface of the parking stall stable,   11B-502.4   1129B.4.4   4.6.3     502.4       Barrier: The white portions of the pavement ISA symbol and border
       characteristics       firm and slip resistant, free of gaps                                                       are stamped into the surface of the concrete at both parking stalls,
                             exceeding 1/2” in width, and free of                                                        creating multiple level changes of 1/8” or more. In addition, The
                             changes in level, except for slopes not                                                     surface slopes along the tail end of the parking stalls and access aisle
                             exceeding 1:48 (≈2.1%)?                                                                     measure 2.7%
                                                                                                                         Barrier Removal: Remove and replace the concrete ISA symbols
                                                                                                                         and the concrete along the rear of the parking stalls and access aisle.
                                                                                                                         Photos: 0792 thru 0803
     Perpendicular Curb Ramp between Accessible Parking Access Aisle and Main Entrance Approach
Perpendicular Curb Ramp between Accessible Parking Access Aisle and Main Entrance Approach
 3     Running slope         Is the running slope not steeper than         11B-        1127B.5.3   4.8.2     405.2       Barrier: Running slope measures up to 9.1%
                             1:12 (≈8.33%)?                                406.2.1                                       Barrier Removal: Remove and replace the curb ramp
                                                                                                                         Photos: 0804 thru 0806
 4     Side Flare slope      Are side flare slopes not steeper than        11B-        1127B.5.3   4.7.5     406.3       Barrier: Side flare slopes measure 13.3% and 13.4%
                             1:10 (10.0%)?                                 406.2.2                                       Barrier Removal: Remove and replace the curb ramp side flares
                                                                                                                         Photos: 0808 thru 0812
       Primary Building Entrance/Required Exit
       [3775161.1]                                                                                                                                                                1
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       Brookdale – Brookhurst Facility                                                                            Access Compliance Evaluation Survey Barrier Report
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Primary Building Entrance/Required Exit
Low power double door with actuator plates inside and outside operating both door leaves
 5     Tactile Exit Sign   Is a tactile exit sign provided adjacent to   11B-        N/A         4.1.3. (16)      216.4.1     Barrier: When an illuminated exit sign is required a tactile exit sign is
       -                   the right side of the double door (viewed     216.4.1 &               (a)                          also required. The required sign is not provided.
                           from the interior) and centered on an 18”     1013.4                                               Barrier Removal: Provide a tactile exit sign
                           x 18” clear floor space?                                                                           Photos: 0789, 0790 & 0817
       Rear Building Entrance/Exit with Parking Lot and Passenger Loading Zone
Rear Building Entrance/Exit with Parking Lot and Passenger Loading Zone
Parking lot comprising 24 parking spaces and one passenger loading zone. At least one accessible parking space is required in this lot, including at least one that is
van accessible; four spaces are provided that are designated accessible, with none designated as van accessible. Note: construction documents require use of 32
spaces plus 33 additional spaces located off-site at the adjacent property. As such, this lot comprising 24 plus the 33 located off site number a total of 57 parking
spaces provided in the lot, requiring at least two accessible parking spaces, including at least one that is van accessible (Reference “PROJECT ANALYSIS” Sheet
# 0.10, dated 8/28/2000, submitted for plan check 11/22/1999).
       Parking Lot
Parking Lot
 6     Tow Away            Is a tow away warning sign posted             11B-502.8   1129B.5     N/A              N/A         Barrier: There are three possible entrances to this parking area, two
       Warning             conspicuously at each entrance to the                                                              of which appear to be off-site. There is no tow away sign at any of the
       Signage             parking lot, or provided immediately                                                               three entrances, including the East side entrance from Brookhurst St.,
                           adjacent to and visible from each                                                                  which is on-site
                           accessible parking space?                                                                          Barrier Removal: Provide signs posted conspicuously at each
                                                                                                                              entrance. or immediately adjacent to and visible from each accessible
                                                                                                                              parking space

 7     Required Van        Is at least one of every six or portion       11B-502.8   1129B.1     4.1.2 (5) (b)    208.2.4     Barrier: None provided
       Accessible Stalls   thereof required accessible parking stalls                                                         Barrier Removal: Convert one existing standard designated
                           van accessible? (Note: for ADAAG -at                                                               accessible parking stall to van accessible by providing a van
                           least one of every eight or portion thereof                                                        accessible sign below the ISA and create an adjacent access aisle
                           of provided accessible stalls)                                                                     that is at least 8’-0” wide.
                                                                                                                              Photos: 0773
      West Side Single Designated Accessible Parking Space
West Side Single Designated Accessible Parking Space
One of four such spaces at this location that are designated as accessible
 8     Access Aisle        Is an access aisle provided adjacent to       11B-502.2   1129B.4.1   4.6.3            502.2       Barrier: No access aisle is provided. The area to the west side of the
                           the accessible parking space?                                                                      parking space is a structure and the area to the East side is a parking
                                                                                                                              space
                                                                                                                              Barrier Removal: Provide adjacent access aisle by applying surface
                                                                                                                              markings and relocating parking as necessary
                                                                                                                              Photos: 0735
 9     Parking Space       Is the parking space at least 108 inches      11B-502.2   1129B.4.1   N/A              N/A         Barrier: The space is delineated as 103” wide (8’-7”).
       Width               (9’-0”) wide?                                                                                      Barrier Removal: Blackout surface striping and re-stripe to provide
                                                                                                                              required width
                                                                                                                              Photos: 0735, 0736, 0739
 10    Surface             Is the parking space marked with a min.       11B-        1129B.51&   N/A              N/A         Barrier: ISA marking is not provided
       Markings – ISA      36” by 36” ISA in white on a blue             502.6.4     2                                        Barrier Removal: Provide surface painted ISA
       Symbol              background, centered within 6” of the                                                              Photos: 0736
                           width of the parking space and located at
                           the rear of the space?.
       [3775161.1]                                                                                                                                                                      2
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                                                                                    & CPC                Standards

 11    Signage           Is the bottom of the identification sign at   11B-502.6   N/A         N/A       502.6       Barrier: it is 49” high
       Placement -       least 60” above the ground surface?                                                         Barrier Removal: Raise the sign
       Height                                                                                                        Photos: 0736
 12    Surface           Is the surface of the parking stall stable,   11B-502.4   1129B.4.4   4.6.3     502.4       Barrier: The surface slopes along the head end of the space and
       characteristics   firm and slip resistant, free of gaps                                                       potential adjacent access aisle measure 6.0% at the concrete gutter.
                         exceeding 1/2” in width, and free of                                                        The overall length of the space and other parking spaces in the row is
                         changes in level, except for slopes not                                                     17’-0” rather than the 18’-0” min. required by California standards.
                         exceeding 1:48 (≈2.1%)?                                                                     Therefore the concrete gutter must be included in the required length
                                                                                                                     of the parking stall.
                                                                                                                     Barrier Removal: Remove and replace the concrete gutter at the
                                                                                                                     existing parking space and the adjacent proposed access aisle serving
                                                                                                                     the parking space
                                                                                                                     Photos: 0757 & 0758
      Second from West Side Single Designated Accessible Parking Space
Second from West Side Single Designated Accessible Parking Space
One of four such spaces at this location that are designated as accessible
 13    Access Aisle      Is an access aisle provided adjacent to       11B-502.2   1129B.4.1   4.6.3     502.2       Barrier: No access aisle is provided. The areas to each side of the
                         the accessible parking space?                                                               parking space are other parking spaces
                                                                                                                     Barrier Removal: Provide adjacent access aisle by applying surface
                                                                                                                     markings and relocating parking as necessary
                                                                                                                     Photos: 0743
 14    Parking Space     Is the parking space at least 108 inches      11B-502.2   1129B.4.1   N/A       N/A         Barrier: The space is 90” wide (7’-6””).
       Width             (9’-0”) wide?                                                                               Barrier Removal: Blackout surface striping and re-stripe
                                                                                                                     Photos: 0743, 0744, 0745
 15    Surface           Is the parking space marked with a min.       11B-        11B-        N/A       N/A         Barrier: No ISA marking is provided
       Markings – ISA    36” by 36” ISA in white on a blue             502.6.4     502.6.4                           Barrier Removal: Provide surface painted ISA
       Symbol            background, centered within 6” of the                                                       Photos: 0736
                         width of the parking space and located at
                         the rear of the space?
 16    Surface           Is the surface of the parking stall stable,   11B-502.4   1129B.4.4   4.6.3     502.4       Barrier: The surface slopes along the head end of the space and
       characteristics   firm and slip resistant, free of gaps                                                       potential adjacent access aisle measure 9.6% at the concrete gutter.
                         exceeding 1/2” in width, and free of                                                        The overall length of the space and other parking spaces in the row is
                         changes in level, except for slopes not                                                     17’-0” rather than the 18’-0” min. required by California standards.
                         exceeding 1:48 (≈2.1%)?                                                                     Therefore the concrete gutter must be included in the required length
                                                                                                                     of the parking stall.
                                                                                                                     Barrier Removal: Remove and replace the concrete gutter at the
                                                                                                                     existing parking space and the adjacent proposed access aisle serving
                                                                                                                     the parking space
                                                                                                                     Photos: 0759 thru 0761
       Third from West Side Single Designated Accessible Parking Space
Third from West Side Single Designated Accessible Parking Space
One of four such spaces at this location that are designated as accessible
 17    Access Aisle      Is an access aisle provided adjacent to       11B-502.2   1129B.4.1   4.6.3     502.2       Barrier: No access aisle is provided. The areas to each side of the
                         the accessible parking space?                                                               parking space are other parking spaces
                                                                                                                     Barrier Removal: Provide adjacent access aisle by applying surface
                                                                                                                     markings and relocating parking as necessary, in order to maximize
                                                                                                                     parking capacity, consider locating one access aisle between and
                                                                                                                     serving two accessible parking spaces
                                                                                                                     Photos: 0749
       [3775161.1]                                                                                                                                                         3
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       Brookdale – Brookhurst Facility                                                                    Access Compliance Evaluation Survey Barrier Report
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                                                                                     & CPC                Standards

 18    Parking Space      Is the parking space at least 108 inches      11B-502.2   1129B.4.1   4.6.3     502.2       Barrier: The space is 90-1/2” wide (7’-6-1/2””).
       Width              (9’-0”) wide?                                                                               Barrier Removal: Blackout surface striping and re-stripe
                                                                                                                      Photos: 0747, 0748, 0749
 19    Surface            Is the parking space marked with a min.       11B-        1129B.51&   N/A       N/A         Barrier: No ISA marking is provided
       Markings – ISA     36” by 36” ISA in white on a blue             502.6.4     2                                 Barrier Removal: Provide surface painted ISA
       Symbol             background, centered within 6” of the                                                       Photos: 0750
                          width of the parking space and located at
                          the rear of the space?
 20    Surface            Is the surface of the parking stall stable,   11B-502.4   1129B.4.4   4.6.3     502.4       Barrier: The surface slopes along the head end of the space and
       characteristics    firm and slip resistant, free of gaps                                                       potential adjacent access aisle measure 9.6% at the concrete gutter.
                          exceeding 1/2” in width, and free of                                                        The overall length of the space and other parking spaces in the row is
                          changes in level, except for slopes not                                                     17’-0” rather than the 18’-0” min. required by California standards.
                          exceeding 1:48 (≈2.1%)?                                                                     Therefore the concrete gutter must be included in the required length
                                                                                                                      of the parking stall.
                                                                                                                      Barrier Removal: Remove and replace the concrete gutter at the
                                                                                                                      existing parking space and the adjacent proposed access aisle serving
                                                                                                                      the parking space
                                                                                                                      Photos: 0765 & 0766
      East Side Single Designated Accessible Parking Space
East Side Single Designated Accessible Parking Space
One of four such spaces at this location that are designated as accessible
 21    Access Aisle       Is an access aisle provided adjacent to       11B-502.2   1129B.4.1   4.6.3     502.2       Barrier: No access aisle is provided. The areas to each side of the
                          the accessible parking space?                                                               parking space are other parking spaces
                                                                                                                      Barrier Removal: Provide adjacent access aisle by applying surface
                                                                                                                      markings and relocating parking as necessary
                                                                                                                      Photos: 0768, 0769 & 0771
 22    Parking Space      Is the parking space at least 108 inches      11B-502.2   1129B.4.1   4.6.3     502.2       Barrier: The space is 90” wide (7’-6””).
       Width              (9’-0”) wide?                                                                               Barrier Removal: Blackout surface striping and re-stripe
                                                                                                                      Photos: 0750, 0751, 0752
 23    Surface            Is the parking space marked with a min.       11B-        1129B.51&   N/A       N/A         Barrier: None provided
       Markings – ISA     36” by 36” ISA in white on a blue             502.6.4     2                                 Barrier Removal: Provide surface painted ISA
       Symbol             background, centered within 6” of the                                                       Photos: 0771
                          width of the parking space and located at
                          the rear of the space?
 24    Parking Location   Is the space located on the shortest          11B-        1129B.4     4.6.2     208.3.1     Barrier: At least two non-accessible parking spaces are closer to the
                          accessible route from parking to the          208.3.1                                       entrance (the first and third adjacent spaces to the West)
                          entrance?                                                                                   Barrier Removal: Re-stripe parking so that the accessible spaces
                                                                                                                      are the closest to the entrance
                                                                                                                      Photos: 0773
       Accessible Route between Designated Accessible Parking and Entrance
Accessible Route between Designated Accessible Parking and Entrance
Includes the yellow hatched passenger loading zone access aisle
 25    Running Slope      Is the slope of the route measured in the     11B-403.3   1133B.7.3   4.3.7     403.3       Barrier: The entire length of the hatched area has excessive running
                          direction of travel no more than 1:20                                                       slope, measured up to 7.2% and lacks ramp features
                          (5.0%), or configured as a ramp?                                                            Barrier Removal: Provide asphalt overlay and surface striping
                                                                                                                      Photos: 0777 thru 0784




       [3775161.1]                                                                                                                                                           4
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                                                                                         & CPC                       Standards

 26    Detectable          Are detectable warnings provided where           11B-        1133B.8.5     N/A            N/A         Barrier: None provided between entrance and parking area
       Warnings at         a walk crosses or adjoins a vehicular way        247.1.2.5                                            Barrier Removal: Provide a line of surface applied truncated domes,
       Hazardous           and the walking surfaces are not                                                                      36” long in the direction of travel and fifteen feet wide.
       Vehicular Areas     separated by curbs, railings or other                                                                 Photos: 0778
                           elements?
      Passenger Loading Zone
Passenger Loading Zone
Yellow hatched area in front of entrance – also serves as a portion of the accessible route between designated accessible parking spaces and the entrance
 27    Surface             Is the surface of the space and access           11B-503.4   1131B.2.1     4.6.6          503.4       Barrier: The entire length of the hatched area has excessive slopes
       characteristics     aisle stable, firm and slip resistant, free of                                                        measured up to 7.2%
                           gaps exceeding 1/2” in width, and free of                                                             Barrier Removal: Provide asphalt overlay and surface striping
                           changes in level, except for slopes not                                                               Photos: 0777 thru 0784
                           exceeding 1:48 (≈2.1%)?
      Rear Building Entrance/Exit
Rear Building Entrance/Exit
Low power double door with actuator plates inside and outside operating both door leaves
 28    Tactile Exit Sign   Is a tactile exit sign provided adjacent to      11B-        1117B.5.6.1   4.1.3. (16)    216.4.1     Barrier: When an illuminated exit sign is required a tactile exit sign is
                           the right side of the double door (viewed        216.4.1 &                 (a)                        also required. The required sign is not provided.
                           from the interior) and centered on an 18”        1013.4                                               Barrier Removal: Provide a tactile exit sign
                           x 18” clear floor space?                                                                              Photos: 0788 & 0789

        Aggregate Facility Aspects
Aggregate Facility Aspects
In the interest of report brevity, this aspect is aggregated as described
 29    Tactile Text and    Tactile characters are san-serif, and are        11B-        1117B.5.6.1   4.30.4         703.2.3     Barrier: Where tactile characters are provided at permanent
       numerals at         neither italic, oblique, script, highly          703.2.3                                              identification signs, restroom wall signs and wall-mounted exit signs,
       Permanent           decorative, nor other unusual forms                                                                   they are of a text design that includes serifs. This item applies to all
       Identification                                                                                                            such signage at the facility.
       Signage                                                                                                                   Barrier Removal: Remove and replace tactile signs
                                                                                                                                 Photos: 0002

       1st Floor Common Areas
1st Floor Common Areas
       Dining Room Main Entrance from Foyer/Required Exit
Dining Room Main Entrance from Foyer/Required Exit
Double fire door on magnetic hold-open devices
 30    Identification      Is the tactile sign provided to the right of     11B-        1117B.5.9     4.30.6         703.4.2     Barrier: Space is available at the right side of the right hand door,
       Signage -           the right hand door at double doors with         703.4.2                                              however the sign is placed at the left side of the left hand door.
       Location            two active leaves, or if no wall space is                                                             Barrier Removal: Relocate sign
                           available, at the nearest adjacent wall?                                                              Photos: 0002 & 0003
 31    Tactile Exit Sign   Is a tactile exit sign provided adjacent to      11B-        1117B.5.6.1   4.1.3. (16)    216.4.1     Barrier: When an illuminated exit sign is required a tactile exit sign is
       - Provided          the right side of the double door (viewed        216.4.1 &                 (a)                        also required. The required sign is not provided.
                           from the dining room side) and centered          1013.4                                               Barrier Removal: Provide a tactile exit sign
                           on an 18” x 18” clear floor space?                                                                    Photos: 0016
       Dining Room

       [3775161.1]                                                                                                                                                                         5
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Dining Room
 32    Dining/Work         At dining / work surfaces is the required     11B-902.4   1122B.3       4.32.2 &       902.4 & 28   Barrier: There are eighteen non-fixed tables providing seventy-two
       Surfaces            knee space, 30” wide x 27” high x 19”                                   4.2.4 & 28     CFR §        total seats, requiring a min. of four accessible seating positions. The
                           deep, provided?                                                         CFR §          36.201 (a)   knee and toe clearances at all tables is partially obstructed by table
                                                                                                   36.201 (a)                  bases
                                                                                                                               Barrier Removal: Remove and replace two dining tables providing a
                                                                                                                               total of four accessible seating positions
                                                                                                                               Photos: 0018 thru 0021
      Dining Room Minor Entrance from Corridor/Required Exit
Dining Room Minor Entrance from Corridor/Required Exit
Double fire door on magnetic hold-open devices
 33    Identification      Is the tactile sign provided to the strike    11B-        1117B.5.9     4.30.6         703.4.2      Barrier: The door swings over the 18” x 18” clear floor space.
       Signage -           side of a single door and centered on an      703.4.2                                               Barrier Removal: Relocate the sign so that the centerline is at least
       Location            18” x 18” clear floor space that is                                                                 9” away from the door strike edge
                           provided beyond the arc of any door                                                                 Photos: 0026
                           swing between the closed position and
                           45 degree open?
 34    Tactile Exit Sign   Is a tactile exit sign provided adjacent to   11B-        1117B.5.6.1   4.1.3. (16)    216.4.1      Barrier: When an illuminated exit sign is required a tactile exit sign is
       -                   the right side of the double door (viewed     216.4.1 &                 (a)                         also required. The required sign is not provided.
                           from the dining room side) and centered       1013.4                                                Barrier Removal: Provide a tactile exit sign
                           on an 18” x 18” clear floor space that is                                                           Photos: 0022
                           provided beyond the arc of any door
                           swing between the closed position and
                           45 degree open?
 35    Door Hardware       Are the operable parts of door hardware       11B-        1133B.2.5.1   N/A            N/A          Barrier: The pull side handle is centered at 45-1/4” AFF
       Height              from 34” min. to 44” max. AFF?                404.2.7                                               Barrier Removal: Relocate hardware
                                                                                                                               Photos: 0026 & 0028
        Door to Courtyard from Dining Room
Door to Courtyard from Dining Room
First of five entrances to the Courtyard. Automatic low power double door with interior and exterior actuators – both leaves active
 36    Door Threshold      Is the threshold no higher than 1/2”, and     11B-        1133B.2.4.1   4.13.8         404.2.5      Barrier: Overall threshold height is 1-3/16” high with a vertical edge
                           has a maximum vertical edge height of         404.2.5                                               of 3/4” high.
                           1/4”, and if higher than 1/4”, the portion                                                          Barrier Removal: Remove and replace threshold and exterior
                           between 1/4” and 1/2” in height is                                                                  concrete door landing
                           beveled at 1:2 max.?                                                                                Photos: 0031 thru 0033 & 0041
      Door to Courtyard from Lobby
Door to Courtyard from Lobby
Second of five entrances to the Courtyard. Automatic low power double door with interior and exterior actuators – both leaves active
 37    Door                Are the required door maneuvering             11B-302.2   1133B.2.4.2   4.13.6 & 28    302.2 & 28   Barrier: The gap between the tile and the metal threshold is 3/4” wide
       Maneuvering         clearance areas stable, firm and slip                                                               and over 1/4” deep and there is a bull-nosed shaped abrupt edge at
       Area Surface        resistant, free of excessive gaps, abrupt                                                           the transition between the concrete and stamped concrete surfaces at
                           edges, and slopes exceeding 1:48                                                                    the exterior maneuvering area that varies from 3/8” to 1/2” in height
                           (≈2.1%)?                                                                                            Barrier Removal: Fill gap between threshold and tile with epoxy and
                                                                                                                               remove and replace a portion of the exterior door landing
                                                                                                                               Photos: 0088 thru 0098
       Door to Courtyard from Corridor at East Side of Lobby

       [3775161.1]                                                                                                                                                                       6
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                                                                                    & CPC                      Standards

Door to Courtyard from Corridor at East Side of Lobby
Third of five entrances to the Courtyard. Double door with both leaves active
 38    Door operating   Is the opening force of the door not more    11B-          1133B.2.5.1   N/A           N/A          Barrier: The opening force measured 12 lbs. at the East side door
       Force            than 5lbs?                                   404.2.9.3 &   &                                        and 10 lbs. at the West side door
                                                                     11B-108       1101B.3.1                                Barrier Removal: Adjust the door closers
                                                                                   &2                                       Photos: 0104 & 0105
 39    Door Threshold   Is the threshold no higher than 1/2”, and    11B-          1133B.2.4.1   4.13.8        404.2.5      Barrier: Overall threshold height varies from 7/8” to 1” high with
                        has a maximum vertical edge height of        404.2.5                                                vertical edge of 1/2” high.
                        1/4”, and if higher than 1/4”, the portion                                                          Barrier Removal: Remove and replace threshold and exterior
                        between 1/4” and 1/2” in height is                                                                  concrete door landing
                        beveled at 1:2 max.?                                                                                Photos: 0107 thru 0110
       Door to Courtyard from Corridor at West Side of Lobby
Door to Courtyard from Corridor at West Side of Lobby
Fourth of five entrances to the Courtyard. Double door with both leaves active
 40    Door operating   Is the opening force of the door not more    11B-          1133B.2.5.1   N/A           N/A          Barrier: The opening force measured 11 lbs. at the East side door
       Force            than 5lbs?                                   404.2.9.3 &   &                                        and 12 lbs. at the West side door
                                                                     11B-108       1101B.3.1                                Barrier Removal: Adjust the door closers
                                                                                   &2                                       Photos: 0113 & 0114
 41    Door Threshold   Is the threshold no higher than 1/2”, and    11B-          1133B.2.4.1   4.13.8        404.2.5      Barrier: Overall threshold height varies from 1” to 1-1/8” high with
                        has a maximum vertical edge height of        404.2.5                                                vertical edge of 3/4” high.
                        1/4”, and if higher than 1/4”, the portion                                                          Barrier Removal: Remove and replace threshold and exterior
                        between 1/4” and 1/2” in height is                                                                  concrete door landing
                        beveled at 1:2 max.?                                                                                Photos: 0116 thru 0119
        Door to Courtyard from Corridor at West Side Near Room 125
Door to Courtyard from Corridor at West Side Near Room 125
Fifth of five entrances to the Courtyard. Double door with keypad operator -found locked during inspection
 42    Door Threshold   Is the threshold no higher than 1/2”, and    11B-          1133B.2.4.1   4.13.8        404.2.5      Barrier: Overall threshold height is greater than 1” and is shaped as a
                        has a maximum vertical edge height of        404.2.5                                                1:1 bevel
                        1/4”, and if higher than 1/4”, the portion                                                          Barrier Removal: Remove and replace threshold and exterior
                        between 1/4” and 1/2” in height is                                                                  concrete door landing
                        beveled at 1:2 max.?                                                                                Photos: 0129 thru 0132
 43    Accessible       Are the operable parts of elements           11B-          1118B.5       4.2.5         308.2.1      Barrier: The keypad operator is required to unlock the door. It is
       Reach Range –    accessed by forward approach no higher       308.2.1                                                mounted to allow only forward approach and the highest buttons are
       Forward          than 48” above the surface of the clear                                                             51-1/4” above the clear space surface
       Approach         space?                                                                                              Barrier Removal: Relocate keypad
                                                                                                                            Photos: 0125 & 0126
      Courtyard Features
Courtyard Features
 44    Overhead         Is a vertical clearance of min. 80” AFF      11B-307.4     1121B.2       4.4.2 & 28    307.4 & 28   Barrier: Two umbrellas and three tree branches overhang circulation
       Hazards          provided at circulation areas, unless                                    CFR           CFR          areas, reducing overhead clearance, varying from 71” to 75” above
                        protected by a barrier?                                                  §36.211       §36.211      the surface of the ground
                                                                                                                            Barrier Removal: Raise umbrellas and trim landscaping
                                                                                                                            Photos: 0133 thru 0136 & 0141 thru 0144




       [3775161.1]                                                                                                                                                                  7
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       Brookdale – Brookhurst Facility                                                                          Access Compliance Evaluation Survey Barrier Report
       15302 Brookhurst St., Westminster, CA 92683                                                             Survey Date: June 19, 2019 / Report Date: August 5, 2021
Item   Element           Item Requirement                             2019 CBC      1998 CBC       ADAAG        2010 ADA     Barrier, Barrier Removal and Photos
                                                                                     & CPC                      Standards

 45    Dining/Work       At dining / work surfaces is the required    11B-902.4     1122B.3       4.32.2 &      902.4 & 28   Barrier: There are five tables of two types offering a total of 22 seats
       Surfaces          knee space, 30” wide x 27” high x 19”                                    4.2.4 & 28    CFR §        (One seating six and four seating four each), requiring a minimum of
                         deep, provided?                                                          CFR §         36.201 (a)   two accessible seats. Table bases partially obstruct the knee and toe
                                                                                                  36.201 (a)                 space at all locations
                                                                                                                             Barrier Removal: Provide a table offering two accessible seating
                                                                                                                             positions with the necessary knee and toe clearance
                                                                                                                             Photos: 0052, 0055, 0057, 0061, 0062, 0066 & 0068
       Private Dining Room
Private Dining Room
Entrance from Foyer - One of two entrances
 46    Identification    Is the tactile sign provided to the strike   11B-          1117B.5.9     4.30.6        703.4.2      Barrier: The sign is located at the latch side however is too far away
       Signage -         side of a single door and centered on an     703.4.2                                                from the door
       Location          18” x 18” clear floor space that is                                                                 Barrier Removal: Relocate the sign to the glazing panel so that it is
                         provided beyond the arc of any door                                                                 closer to the door
                         swing between the closed position and                                                               Photos: 0145
                         45 degree open?
 47    Door operating    Is the opening force of the fire door not    11B-          1133B.2.5.1   4.13.11 &     404.2.9 &    Barrier: The opening force measured 17 lbs.
       Force             more than required by the administrative     404.2.9.3 &   &             28 CFR        28 CFR       Barrier Removal: Adjust the door closer to the minimum required by
                         authority but in no case no more             11B-108       1101B.3.1     §36.211       §36.211      the administrative authority and no more than 15 lbs.
                         than15lbs?                                                 &2                                       Photos: 0145 & 0146
       Private Dining Room
Private Dining Room
Seating/Work Surface
       Library Counter/Sink
Library Counter/Sink
 48    Work Counter –    Is the height of the work counter not        11B-902.3     1122B.4       4.32.4        902.3        Barrier: The height of the counter is more than 34” above the floor;
       Height            more than 34” above the floor?                                                                      measured at 35-1/2” AFF.
                                                                                                                             Barrier Removal: Provide a counter not more than 34” high above
                                                                                                                             the floor.
                                                                                                                             Photos: 0164 & 0165
 49    Soap/Sanitizer    Is the operable part provided with a         11B-          1118B.5       4.2.5         308.2.1      Barrier: The operable part of the dispenser is 51-1/2” AFF with a
       Dispenser –       forward approach no higher than 48”          308.2.1                                                clear space positioned for forward approach
       Height            AFF?                                                                                                Barrier Removal: Relocate the surface-mounted dispenser
                                                                                                                             Photos: 0166
 50    Sink - Rim        Is the height of the sink rim no more than   11B-606.3     N/A           4.24.2        606.3        Barrier: The height of the sink rim is more than 34” above the floor;
       Height            34” AFF?                                                                                            measured at 35-1/2” AFF
                                                                                                                             Barrier Removal: Modify existing counter or replace to provide a
                                                                                                                             counter/sink not more than 34” high above the floor
                                                                                                                             Photos: 0164 & 0165
 51    Sink – Knee and   Is the required knee and toe space, 30”      11B-606.2     N/A           4.24.3        606.2        Barrier: None provided – the base cabinet has a raised bottom
       Toe Clearance     wide x 27” high x 19” deep, provided?                                                               platform located under the sink that obstructs knee and toe clearance
                                                                                                                             Barrier Removal: Modify base cabinet to provide the required knee
                                                                                                                             and toe clearances
                                                                                                                             Photos: 0164 & 0168
       Activity Room Minor Entrance



       [3775161.1]                                                                                                                                                                    8
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       Brookdale – Brookhurst Facility                                                                         Access Compliance Evaluation Survey Barrier Report
       15302 Brookhurst St., Westminster, CA 92683                                                            Survey Date: June 19, 2019 / Report Date: August 5, 2021
Item   Element           Item Requirement                             2019 CBC      1998 CBC     ADAAG         2010 ADA      Barrier, Barrier Removal and Photos
                                                                                     & CPC                     Standards

Activity Room Minor Entrance
Fire door at North side of Activity Room at corridor - found held open with magnetic hold open device
 52    Door – Closing    Is the closing speed of the door not less    11B-          N/A         4.13.10 & §    404.2.8 & §   Barrier: The closing speed is less than 5-seconds; measured at 2.5
       Speed             than 5-seconds?                              404.2.8                   36.211         36.211        seconds.
                                                                                                                             Barrier Removal: Adjust the door closer as required so the closing
                                                                                                                             speed is not less than 5-seconds.
                                                                                                                             Photos: 0178, 0183, 0185 & 0187
       Activity Room
Activity Room
 53    Work Counter -    Is the height of the work counter not        11B-902.3     1122B.4     4.32.4         902.3         Barrier: The height of the counters are more than 34” above the floor;
       Height            more than 34” above the floor?                                                                      measured at 36” to 36-1/2” AFF
                                                                                                                             Barrier Removal: Provide a counter not more than 34” high above
                                                                                                                             the floor.
                                                                                                                             Photos: 0172 thru 0175
 54    Sink - Rim        Is the height of the sink rim no more than   11B-606.3     N/A         4.24.2         606.3         Barrier: The height of the sink rim is more than 34” above the floor;
       Height            34” AFF?                                                                                            measured at 36-1/2” AFF
                                                                                                                             Barrier Removal: Modify existing counter or replace to provide a
                                                                                                                             counter/sink not more than 34” high above the floor
                                                                                                                             Photos: 0173 & 0175
 55    Sink – Knee and   Is the required knee and toe space, 30”      11B-606.2     N/A         4.24.3         606.2         Barrier: None provided – the base cabinet has a raised bottom
       Toe Clearance     wide x 27” high x 19” deep, provided?                                                               platform located under the sink that obstructs knee and toe clearance
                                                                                                                             Barrier Removal: Modify base cabinet to provide knee and toe
                                                                                                                             clearances
                                                                                                                             Photos: 0174
 56    Dining/Work       At dining / work surfaces is the required    11B-902.4     1122B.3     4.32.2 &       902.4 & 28    Barrier: There are three non-fixed tables providing twelve total seats,
       Surfaces          knee space, 30” wide x 27” high x 19”                                  4.2.4 & 28     CFR §         requiring a min. of one accessible seating position. The knee and toe
                         deep, provided?                                                        CFR §          36.201 (a)    clearances at all tables is partially obstructed by table bases
                                                                                                36.201 (a)                   Barrier Removal: Remove and replace one table providing at least
                                                                                                                             one accessible seating position
                                                                                                                             Photos: 0170 & 0183
      All-Gender single Accommodation Restroom at Dining Room at South Side (Room 127 on Building Plans)
All-Gender single Accommodation Restroom at Dining Room at South Side (Room 127 on Building Plans)
 57    Signage –         Is a compliant geometric symbol door         11B-          1115B.5     NA             NA            Barrier: The geometric symbol door sign is not provided.
       Geometric         sign in a color that contrasts with the      703.7.2.6.2                                            Barrier Removal: Provide a geometric symbol door sign with a light-
       Symbol Door       door provided?                                                                                      colored triangle within a dark colored circle on the light-colored door.
       Sign                                                                                                                  Photos: 0606
 58    Toilet – Clear    Is a minimum 48” long clear space            11B-          1115B.7.2   N/A            N/A           Barrier: The clearance is provided to the wall however at the time of
       Space at Toilet   provided in front of the toilet?             604.3.1 and   and                                      my inspection I found it partially obstructed by a non-fixed waste
                                                                      11B-108       1101B.3.1                                receptacle.
                                                                                    &2                                       Barrier Removal: Remove the movable waste receptacle –there is a
                                                                                                                             built-in receptacle installed in this restroom.
                                                                                                                             Photos: 0610
 59    Toilet – Clear    Is the clear space provided between the      11B-          1115B.7.2   4.16.2 &       604.3.1       Barrier: The clear space is less than 60” measured perpendicular to
       Space at Toilet   toilet and adjacent lavatory at least 28”?   604.3.1                                                the side wall adjacent the toilet; measured at 47” to the lavatory. The
                         (1998 CBC requirement). Is the clear                                                                distance between the toilet and lavatory is less than 28”; measured at
                         space provided amin. 42” wide measured                                                              20.75”.
                         from centerline of toilet? (Pertinent to                                                            Barrier Removal: Relocate the toilet and surrounding fixtures to
                         ADAAG).                                                                                             provide the required clear space.
                                                                                                                             Photos: 0608, 0609, 0629 & 0630
       [3775161.1]                                                                                                                                                                    9
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       Brookdale – Brookhurst Facility                                                                                Access Compliance Evaluation Survey Barrier Report
       15302 Brookhurst St., Westminster, CA 92683                                                                   Survey Date: June 19, 2019 / Report Date: August 5, 2021
Item   Element             Item Requirement                                2019 CBC      1998 CBC       ADAAG         2010 ADA    Barrier, Barrier Removal and Photos
                                                                                          & CPC                       Standards

 60    Toilet - Location   Is the flush valve located at the wide (i.e.,   11B-604.6     1502.0        4.16.5         604.6       Barrier: The flush valve is located at the wall side of the toilet area
       of Flush Valve      open) side of the toilet area?                                                                         rather than the wide side.
                                                                                                                                  Barrier Removal: Replace flush tank with one with the flush valve
                                                                                                                                  handle located at the wide side.
                                                                                                                                  Photos: 0608 & 0618
 61    Grab Bar –          Is the area minimum 12” above the grab          11 B-609.3    1133B.4.2.5   4.26.2         609.3       Barrier: The area above the side grab bar is not clear; a projecting
       Unobstructed        bar and minimum 1.5” below and at sides                       ,1133B.5.5.                              surface-mounted seat cover dispenser is located 7.5” above the top of
       Gripping Surface    of the grab bar clear of projecting                           1 & Fig.                                 the grab bar.
                           elements?                                                     11B-36                                   Barrier Removal: Relocate the dispenser to another area of the
                                                                                                                                  room.
                                                                                                                                  Photos: 0608 & 0617
 62    Restroom             Are restroom accessories mounted               11B-603.5     1115B.9.2     4.2.6 &        308.3.2     Barrier: The height to the outlet of the seat cover dispenser is beyond
       Accessories –       within accessible reach range? For CBC:                                     Figure 6(c)                accessible reach range for a side reach approach over an obstruction;
       Reach Range         are restroom accessories mounted so                                                                    measured at 45” AFF and greater than the maximum allowed reach
                           that the highest operable part is not more                                                             over an obstruction of 24”.
                           than 40” above the floor?                                                                              Barrier Removal: Relocate the dispenser.
                                                                                                                                  Photos: 0609 & 0615
 63    Restroom            Are restroom accessories mounted so             11B-603.5     1115B.9.2     NA             N/A         Barrier: The height to the outlet of the paper towel dispenser is more
       Accessories –       that the highest operable part is not more                                                             than 40” above the finish floor; measured at 46” AFF.
       Height of           than 40” above the floor?                                                                              Barrier Removal: Relocate the paper towel dispenser.
       Operable Parts                                                                                                             Photos: 0609 & 0615
      All-Gender single Accommodation Restroom at Dining Room at North Side (Room 128 on Building Plans)
All-Gender single Accommodation Restroom at Dining Room at North Side (Room 128 on Building Plans)
 64    Signage –           Is a compliant geometric symbol door            11B-          1115B.5       NA             NA          Barrier: The geometric symbol door sign is not provided.
       Geometric           sign in a color that contrasts with the         703.7.2.6.2                                            Barrier Removal: Provide a geometric symbol door sign with a light-
       Symbol Door         door provided?                                                                                         colored triangle within a dark colored circle on the light-colored door.
       Sign                                                                                                                       Photos: 0 632
 65    Door – Closing      Is the closing speed of each door leaf not      11B-          N/A           4.13.10 &      404.2.8 &   Barrier: The closing speed of each door leaf is less than 5-seconds;
       Speed               less than 5-seconds?                            404.2.8 &                   28 CFR         28 CFR      measured at 2.5 seconds.
                                                                           11B-108                     §36.211        §36.211     Barrier Removal: Adjust the door closer as required so the closing
                                                                                                                                  speed is not less than 5-seconds.
                                                                                                                                  Photos: 0637
 66    Door – Pull Side    Is the pull side maneuvering space,             11B-          1133B.2.4.2   4.13.6         404.2.4     Barrier: The pull side maneuvering space is partially obstructed by
       Maneuvering         measured as the width of the door x 60”         404.2.4       & Fig. 11B-                              the surface mounted paper towel dispenser, which protrudes 6” into
       Clearance           minimum perpendicular to the door in the                      26A &B                                   the required clearance, beginning 45.5” away.
                           closed position? Is the space level, not                                                               Barrier Removal: Relocate the paper towel dispenser.
                           more than 1:48 in any direction?                                                                       Photos: 0639, 0641 thru 0643 & 0645
 67    Toilet – Clear      Is a minimum 48” long clear space               11B-          1115B.7.2     N/A            N/A         Barrier: The clearance is provided to the wall however at the time of
       Space at Toilet     provided in front of the toilet?                604.3.1 and   and                                      my inspection I found it partially obstructed by a non-fixed waste
                                                                           11B-108       1101B.3.1                                receptacle.
                                                                                         &2                                       Barrier Removal: Remove the movable waste receptacle –there is a
                                                                                                                                  built-in receptacle installed in this restroom
                                                                                                                                  Photos: 0644 thru 0646
 68    Toilet – Clear      Is the clear space provided between the         11B-          1115B.7.2     4.16.2 &       604.3.1     Barrier: The clear space is less than 60” measured perpendicular to
       Space at Toilet     toilet and adjacent lavatory at least 28”?      604.3.1                     Fig. 28                    the side wall adjacent the toilet; measured at 46.25” to the lavatory.
                           (1998 CBC requirement). Is the clear                                                                   The distance between the toilet and lavatory is less than 28”;
                           space provided between the toilet a                                                                    measured at 21.75”.
                           minimum of. 42” wide measured from                                                                     Barrier Removal: Relocate the toilet and surrounding fixtures to
                           centerline of toilet? (ADAAG                                                                           provide the required clear space..
                           requirement).                                                                                          Photos: 0633, 0634, 0651 & 0652
       [3775161.1]                                                                                                                                                                       10
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       Brookdale – Brookhurst Facility                                                                            Access Compliance Evaluation Survey Barrier Report
       15302 Brookhurst St., Westminster, CA 92683                                                               Survey Date: June 19, 2019 / Report Date: August 5, 2021
Item   Element             Item Requirement                              2019 CBC    1998 CBC        ADAAG        2010 ADA     Barrier, Barrier Removal and Photos
                                                                                      & CPC                       Standards

 69    Restroom            Are restroom accessories mounted so           11B-603.5   1115B.9.2     NA             N/A          Barrier: The height of the soap dispenser is more than 40” above the
       Accessories –       that the highest operable part is not more                                                          finish floor; measured at 48” AFF.
       Height of           than 40” above the floor?                                                                           Barrier Removal: Relocate the soap dispenser
       Operable Parts                                                                                                          Photos: 0653
 70    Restroom            Are restroom accessories mounted so           11B-603.5   1115B.9.2     NA             N/A          Barrier: The height to the outlet of the paper towel dispenser is more
       Accessories –       that the highest operable part is not more                                                          than 40” above the finish floor; measured at 46.5” AFF.
       Height of           than 40” above the floor?                                                                           Barrier Removal: Relocate the paper towel dispenser.
       Operable Parts                                                                                                          Photos: 0633 & 0656
      North Side Western Entrance/Required Exit at Parking
North Side Western Entrance/Required Exit at Parking
 71    Tactile Exit Sign   Is a tactile exit sign provided adjacent to   11B-        1117B.5.6.1   4.1.3. (16)    216.4.1      Barrier: When an illuminated exit sign is required a tactile exit sign is
       -                   the right side of the double door (viewed     216.4.1 &                 (a)                         also required. The required sign is not provided.
                           from the interior side) and centered on an    1013.4                                                Barrier Removal: Provide a tactile exit sign
                           18” x 18” clear floor space that is                                                                 Photos: 0658
                           provided beyond the arc of any door
                           swing between the closed position and
                           45 degree open?
      North Side Eastern Required Exit at Stair #4
North Side Eastern Required Exit at Stair #4
 72    Tactile Exit Sign   Is a tactile exit sign provided adjacent to   11B-        1117B.5.6.1   4.1.3. (16)    216.4.1      Barrier: When an illuminated exit sign is required a tactile exit sign is
       -                   the right side of the double door (viewed     216.4.1 &                 (a)                         also required. The required sign is not provided.
                           from the interior side) and centered on an    1013.4                                                Barrier Removal: Provide a tactile exit sign
                           18” x 18” clear floor space that is                                                                 Photos: 0659 & 0650
                           provided beyond the arc of any door
                           swing between the closed position and
                           45 degree open?
     Country Store
Country Store
 73    Door - Clear        Is the clear width of the door in the 90      11B-        113B.2.2      4.13.5         404.2.3      Barrier: The clear width is not at least 32”, measured at 27.75”.
       Width               degree open position at least 32”?            404.2.3                                               Barrier Removal: Remove and replace door and frame and replace
                                                                                                                               with wider door and frame.
                                                                                                                               Photos: 0820 thru 0822
     Second Floor Foyer Library
Second Floor Foyer Library
 74    Dining/Work         At dining / work surfaces is the required     11B-902.4   1122B.3       4.32.2 &       902.4 & 28   Barrier: There is one non-fixed table. The knee and toe clearance is
       Surfaces            knee space, 30” wide x 27” high x 19”                                   4.2.4 & 28     CFR §        partially obstructed by the table base.
                           deep, provided at the required number of                                CFR §          36.201 (a)   Barrier Removal: Remove and replace or modify existing table to
                           seating positions?                                                      36.201 (a)                  provide at least one accessible seating position with the required knee
                                                                                                                               and toe clearance.
                                                                                                                               Photos: 0552 & 0553
       Second Floor Foyer Health and Wellness Office




       [3775161.1]                                                                                                                                                                     11
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       Brookdale – Brookhurst Facility                                                                               Access Compliance Evaluation Survey Barrier Report
       15302 Brookhurst St., Westminster, CA 92683                                                                  Survey Date: June 19, 2019 / Report Date: August 5, 2021
Item   Element             Item Requirement                                2019 CBC      1998 CBC     ADAAG          2010 ADA     Barrier, Barrier Removal and Photos
                                                                                          & CPC                      Standards

Second Floor Foyer Health and Wellness Office
 75    Dining/Work         At dining / work surfaces is the required       11B-902.4     1122B.3     4.32.2 &        902.4 & 28   Barrier: There is one non-fixed table. The knee and toe clearance is
       Surfaces            knee space, 30” wide x 27” high x 19”                                     4.2.4 & 28      CFR §        partially obstructed by the table base.
                           deep, provided at the required number of                                  CFR §           36.201 (a)   Barrier Removal: Remove and replace or modify existing table to
                           seating positions?                                                        36.201 (a)                   provide at least one accessible seating position with the required knee
                                                                                                                                  and toe clearance
                                                                                                                                  Photos: 0558
     Second Floor Spa
Second Floor Spa
 76    Door – Closing      Is the closing speed of each door leaf not      11B-          N/A         4.13.10 &       404.2.8 &    Barrier: The closing speed is less than 5-seconds; measured at 2.0
       Speed               less than 5-seconds?                            404.2.8 &                 28 CFR          28 CFR       seconds.
                                                                           11B-108                   §36.211         §36.211      Barrier Removal: Adjust the door closer as required so the closing
                                                                                                                                  speed is not less than 5-seconds.
                                                                                                                                  Photos: 0581 & 0582
 77    Lavatory –          Are water supply and drain pipes under          11B-606.5     1504.2.2    4.19.4          606.5        Barrier: The cold water supply and a portion of the drain piping are
       Protection          lavatories insulated or otherwise                                                                      not insulated or protected from contact.
                           configured to protect against contact?                                                                 Barrier Removal: Insulate piping.
                                                                                                                                  Photos: 0579
     Second Floor Restroom
Second Floor Restroom
 78    Signage –           Is a compliant geometric symbol door            11B-          1115B.5     NA              NA           Barrier: The geometric symbol door sign is not provided.
       Geometric           sign in a color that contrasts with the         703.7.2.6.2                                            Barrier Removal: Provide a geometric symbol door sign with a light-
       Symbol Door         door provided?                                                                                         colored triangle within a dark colored circle on the light-colored door.
       Sign                                                                                                                       Photos: 0583
 79    Door – Closing      Is the closing speed of each door leaf not      11B-          N/A         4.13.10 &       404.2.8 &    Barrier: The closing speed of each door leaf is less than 5-seconds;
       Speed               less than 5-seconds?                            404.2.8 &                 28 CFR          28 CFR       measured at 2.0 seconds.
                                                                           11B-108                   §36.211         §36.211      Barrier Removal: Adjust the door closer as required so the closing
                                                                                                                                  speed is not less than 5-seconds.
                                                                                                                                  Photos: 0583 & 0584
 80    Toilet – Clear      Is the clear space provided between the         11B-          1115B.7.2   4.16.2 &        604.3.1      Barrier: The clear space is less than 60” measured perpendicular to
       Space at Toilet     toilet and adjacent lavatory at least 28”?      604.3.1                   Fig. 28 –                    the side wall adjacent the toilet; measured at 52.5” to the lavatory. The
                           (1998 CBC requirement). Is the clear                                      see note at                  distance between the toilet and lavatory is less than 28”; measured at
                           space provided a minimum of. 42” wide                                     right                        25.75”. In addition, the clear space is obstructed by a non-fixed table.
                           measured from centerline of toilet?                                                                    Barrier Removal: Relocate the toilet and surrounding furniture to
                           (Pertinent to ADAAG).                                                                                  provide the required clear space.
                                                                                                                                  Photos: 0587 thru 0590
 81    Toilet - Location   Is the flush valve located at the wide (i.e.,   11B-604.6     1502.0      4.16.5          604.6        Barrier: The flush valve is located at the wall side of the toilet area
       of Flush Valve      open) side of the toilet area?                                                                         rather than the wide side.
                                                                                                                                  Barrier Removal: Replace flush tank with one with the flush valve
                                                                                                                                  handle located at the wide side.
                                                                                                                                  Photos: 0593
 82    Grab Bar -          Are grab bars located: at at 33” AFF to         11B-609.4     1115B.8.1   4.17.6 &        609.4        Barrier: The height of the side grab bar is 31.5” to top of gripping
       Height              centerline? (1998 CBC requirement) and                                    Fig. 29 & 30                 surface (31” to centerline).
                           33” to 36” AFF to centerline? (ADAAG                                                                   Barrier Removal: Relocate the grab bar to conform to current CBC
                           requirement)                                                                                           and ADA standards.
                                                                                                                                  Photos: 0591 & 0597




       [3775161.1]                                                                                                                                                                       12
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           Brookdale – Brookhurst Facility                                                                            Access Compliance Evaluation Survey Barrier Report
           15302 Brookhurst St., Westminster, CA 92683                                                               Survey Date: June 19, 2019 / Report Date: August 5, 2021
Item       Element            Item Requirement                              2019 CBC    1998 CBC       ADAAG          2010 ADA    Barrier, Barrier Removal and Photos
                                                                                         & CPC                        Standards

 83        Side Grab Bar –    Does the side grab bar extend a               11B-        1115B.8.1     4.17.6 &        604.5.1     Barrier: The Side grab bar does not extend a minimum of 54” from
           Location           minimum of 24” in front of the toilet?        604.5.1                   Fig. 29 & 30                the rear wall, nor extend a minimum of 24” in front of the toilet;
                              (1998 CBC). Does the side grab bar                                                                  measured at 49.5” from the rear wall, extending 19.5” in front of the
                              begin a maximum of 12” from the rear                                                                toilet.
                              wall?                                                                                               Barrier Removal: Relocate the grab bar to conform to current CBC
                                                                                                                                  and ADA standards.
                                                                                                                                  Photos: 0591 & 0598
      Third Floor Resident Laundry - Room 336 on Building Plans
Third Floor Resident Laundry - Room 336 on Building Plans
 84        Lavatory - Clear   Is there a clear floor space positioned for   11B-606.2   1115B.9.1.1   4.19.3          606.2       Barrier: A clear floor space positioned for a front approach is not
           Floor Space        a front approach to the lavatory?                                                                   provided; a base cabinet encroaches into the required clear space.
                                                                                                                                  Barrier Removal: Modify, remove or replace the base cabinet.
                                                                                                                                   Photos: 0537
        Rolling Stock
Rolling Stock
Large facility shuttle with automatic lift. California License 01622U1. Provides space for two wheelchairs and occupants and 12 regular seats. There is no space
provided for storing mobility devices. Refer to photos 661 through 690
        Part II: Sleeping Rooms
Part II: Resident units
I inspected the 8 assisted living resident units that I was permitted to inspect in the order specified below. I was not permitted to inspect any memory
care units.

      1.    Room 305 – Vacant Two Bedroom
      2.    Room 304 – Vacant One Bedroom
      3.    Room 315 – Vacant One Bedroom
      4.    Room 325 – Vacant Studio
      5.    Room 317 – Vacant Studio Sales Model
      6.    Room 336 – Vacant Studio
      7.    Room 215 – Vacant One Bedroom
      8.    Room 103 – Occupied One Bedroom

Long-Term Care Facilities are covered under both the Americans with Disabilities Act (1991 ADAAG & 2010 ADAS) and the California Building Code,
Chapter 11B (1998 CBC & 2019 CBC)
The United States Center for Disease Control defines Long-Term Care Facilities as follows:
Nursing homes, skilled nursing facilities, and assisted living facilities, (collectively known as long-term care facilities, LTCFs) provide a variety of services, both
medical and personal care, to people who are unable to manage independently in the community.

Applicable Standards and Codes for Scoping
CBC 2019
11B-223.3 Long-term care facilities. In licensed long-term care facilities, including skilled nursing facilities, intermediate care facilities and nursing homes, at least
50 percent, but no fewer than one, of each type of patient bedroom or resident sleeping room shall be provided with mobility features complying with Section 11B-
805.

           [3775161.1]                                                                                                                                                                  13
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       Brookdale – Brookhurst Facility                                                                         Access Compliance Evaluation Survey Barrier Report
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Item   Element             Item Requirement                               2019 CBC    1998 CBC     ADAAG       2010 ADA    Barrier, Barrier Removal and Photos
                                                                                       & CPC                   Standards

CBC 1998
1109B.3 Patient Bedrooms and Toilet Rooms. 1. Long-term care facilities, including skilled nursing facilities, intermediate care facilities, bed and care, and
nursing homes shall have at least 50 percent of patient bedrooms and toilet rooms and all public-use and common-use areas, accessible.
2010 ADAS
223.3 Long-Term Care Facilities. In licensed long-term care facilities at least 50 percent, but no fewer than one, of each type of patient bedroom or resident
sleeping room shall be provided with mobility features complying with 805.
1991 ADAAG
6.1 General.
(3) Long term care facilities, nursing homes – At least 50 percent of patient bedrooms and toilets, and all public use and common use areas are required to be
designed and constructed to be accessible.

Federal Regulation Obligation in absence of Specific Standards.
In addition, there are aspects of the rooms that are required to be accessible in order to fulfill the general obligations for accessibility under ADA implementing
regulations that are not addressed by specific standards. In the absence of specific standards, a public accommodation must nonetheless ensure accessibility of
such aspects by way of utilizing other guidance materials. In this case I have relied upon building block accessibility technical provisions, such as accessible reach
ranges and minimum clearances for example, or similar standards to the extent that they apply in context:

         28 CFR § 36.201 General. (a) Prohibition of discrimination. No individual shall be discriminated against on the basis of disability in the full and equal
         enjoyment of the goods, services, facilities, privileges, advantages, or accommodations of any place of public accommodation by any private entity who
         owns, leases (or leases to), or operates a place of public accommodation.

       Room 305 – Vacant Two Bedroom
Room 305 – Vacant Two Bedroom
Designated as Unit-A2 on building plans at 728 SF, including one large bedroom with a window, a smaller bedroom (referred to as “Den” on plans and in following)
with access to the balcony and a living room and wet bar in between with access to the same balcony. There is a bathroom with roll-in shower within both the
Bedroom and the Den. The bathrooms are of similar size and configuration; however the den bathroom is slightly larger.
 85    Door – Hardware     Is the door hardware operable without          11B-309.4   1117B.6.4   4.13.9       309.4       Barrier: the deadbolt lock requires pinching and twisting of the wrist to
       Use at Unit         requiring tight grasping, pinching, twisting                                                    operate.
       Entrance            of the wrist, more than one hand or                                                             Barrier Removal: provide an additional deadbolt with accessible
                           greater than 5 pounds force?                                                                    handle.
                                                                                                                           Photos: 0191 & 0193
 86    Door – Peephole     Are door vision panels no higher than 43”      11B-        N/A         28 CFR §     404.2.11    Barrier: The peephole is located too high to be usable by a person in
       Height at Unit      AFF?                                           404.2.11                36.202                   a wheelchair or of low stature, measured at 59.5” AFF.
       Entrance                                                                                                            Barrier Removal: add an additional peephole below the existing
                                                                                                                           peephole.
                                                                                                                           Photos: 0191 & 0192
 87    Controls - Height   Is the control accessed by a parallel          11B-        1118B.5 &   4.2.5 & 6    308.2.1     Barrier: the window covering control is located higher than 54” AFF;
       of Blinds Control   approach no higher than 54” AFF as             308.2.1     6                                    measured at 63.75 AFF.
       at Living Room      required by the 1998 CBC and ADAAG?.                                                            Barrier Removal: provide longer wand(s) to extend down to within
       Balcony Door                                                                                                        maximum height above the floor level.
                                                                                                                           Photos: 277 & 278




       [3775161.1]                                                                                                                                                                14
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       Brookdale – Brookhurst Facility                                                                              Access Compliance Evaluation Survey Barrier Report
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                                                                                       & CPC                        Standards

88     Door – Clear        Is the minimum clear width at the sliding      11B-        1133B.2.2     4.13.5          404.2.3     Barrier: The clear width is less than 32”, measured at 30.75” because
       Width at living     door 32” minimum?                              404.2.3                                               a bumper prevents the door from opening fully.
       Room Sliding                                                                                                             Barrier Removal: modify or replace bumper so that the door can
       Balcony Door                                                                                                             open to the extent that it provides minimum 32” clear.
                                                                                                                                Photos: 0284 thru 0286
89     Door –              Is the threshold no more than ½” higher        11B-        1133B.2.4.1   4.13.8          404.2.5     Barrier: The sliding door threshold track is higher than ¾”, measured
       Threshold Height    than the floor level at either side?           404.2.5                                               at 2.125” comprising vertical edges at each side.
       at Living Room      (pertinent to 1998 and 2019 CBC and                                                                  Barrier Removal: Remove and replace the sliding door and frame
       Sliding             2010 ADA) ¾” at exterior sliding doors?                                                              with one with a semi recessed bottom track, or alternately, replace the
       Patio/Balcony       (pertinent to ADAAG).                                                                                sliding door with a pair of swinging doors with a standard threshold.
       Door                                                                                                                     Photos: 0287 thru 0289
90     Door – Hardware     Is the door hardware located no higher         11B-        1118B.5 &     4.2.5 & 6       404.2.7     Barrier: The sliding door hardware is higher than 44” AFF, measured
       Height at Living    than 44” AFF? (2019 CBC) and 48” AFF?          404.2.7     6                                         at 50.5” AFF”.
       Room Sliding        (1998 CBC, ADAAG and 2010 ADA).                                                                      Barrier Removal: relocate sliding door hardware on existing door.
       Patio/Balcony                                                                                                            Photos: 0279 & 0280
       Door
91     Coat Hook –         Is the element accessed by a parallel          11B-        1118B.5 &     4.2.5 & 6       308.2.1     Barrier: Two coat hooks are provided however both are too high;
       Height at Den       approach no higher than 54” AFF? (1998         308.2.1     6                                         measured at 68;5” and 66” AFF.
                           and ADAAG).                                                                                          Barrier Removal: Provide an additional coat hook at accessible
                                                                                                                                height.
                                                                                                                                Photos: 0212 thru 0216
92     Door – Hardware     Is the door hardware operable without          11B-309.4   1117B.6.4     4.13.9          309.4       Barrier: the lock requires pinching and twisting of the wrist to operate.
       Use at Den          requiring tight grasping, pinching, twisting                                                         Barrier Removal: replace hardware set.
       Bathroom            of the wrist, more than one hand or                                                                  Photos: 0240
                           greater than 5 pounds force?
93     Storage – Reach     Where the element is accessed by               11B-        1118B.5       4.2.5 & Fig.    308.2.2     Barrier: The medicine cabinet is too high, measured at 54.75“AFF;
       Range of            forward approach over an obstruction, is       308.2.2                   5(b)                        and there is no knee and toe space provided under the counter
       Medicine            the height a maximum 48” AFF when                                                                    obstruction.
       Cabinet in Den      within 20” of the front of the obstruction                                                           Barrier Removal: Lower the recessed medicine cabinet and provide
       Bathroom            and is knee and toe clearance provided                                                               knee and toe clearance at the lavatory.
                           under the obstruction to the same                                                                    Photos: 0242 & 0255
                           extent?
94     Lavatory – Knee     Is knee and toe clearance provided so          11B-606.2   1115B.9.1.1   4.19.3          606.2       Barrier: the lavatory is provided with a base cabinet that provides no
       and Toe             that the clear space extends at least 19”                                                            knee and toe clearance under the lavatory.
       Clearance at        under the lavatory?                                                                                  Barrier Removal: modify the base cabinet to provide knee and toe
       Den Bathroom                                                                                                             clearance.
                                                                                                                                Photos: 0242 & 0252
95     Toilet – Location   Is the flush valve located on the wide         11B-604.6   1502.0        4.16.5          604.6       Barrier: The flush valve is located at the wall side of the toilet area
       of flush Valve      side of the toilet area?                                                                             rather than the wide side.
       Control at Den                                                                                                           Barrier Removal: Replace flush tank with one with the flush valve
       Bathroom                                                                                                                 handle located at the wide side.
                                                                                                                                Photos: 0239 & 0247
96     Toilet – Toilet     Is the centerline of the toilet paper          11B-        1115B.9.3     4.16.6 &        604.7.1     Barrier: The location of this dispenser does not conform to any
       Paper Dispenser     dispenser located 7” to 9” from the front      604.7.1     & Fig. 85     Fig. 29(b)                  standard: The centerline of the dispenser is not 7” to 9” in front of the
       Location at Den     of the toilet to the centerline of the                                                               front of the toilet, nor within 12” of the front of the toilet, nor within 36”
       Bathroom            dispenser? (current standards) located                                                               of the back wall. It is located more than 36” from the rear wall and
                           within 12” from the front of the toilet?                                                             13.5” in front of the toilet.
                           (1998 CBC) or the entire dispenser within                                                            Barrier Removal: Relocate the surface mounted toilet paper
                           36” of the rear wall? (ADAAG).                                                                       dispenser
                                                                                                                                Photos: 0239 & 0249

       [3775161.1]                                                                                                                                                                          15
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       Brookdale – Brookhurst Facility                                                                             Access Compliance Evaluation Survey Barrier Report
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Item   Element           Item Requirement                               2019 CBC     1998 CBC        ADAAG         2010 ADA    Barrier, Barrier Removal and Photos
                                                                                      & CPC                        Standards

97     Grab Bar –        Is the area minimum 12” above the grab         11 B-609.3   1133B.4.2.5   4.26.2          609.3       Barrier: The area below the rear grab bar is not clear; it is located so
       Obstructed        bar and minimum 1.5” below and at sides                     ,1133B.5.5.                               that there is a ½” space between the bottom of the bar and the top of
       Above/Below at    of the grab bar clear of projecting                         1 & Fig.                                  the toilet tank, rather than 1.5” minimum.
       Den Bathroom      elements?                                                   11B-36                                    Barrier Removal: Relocate the grab bar.
                                                                                                                               Photos: 0239 & 0251
98     Shower –          Is the entrance to the shower free of a        11B-608.7    1115B.6.2.2   4.21.7          608.7       Barrier: the shower threshold is 0.875” high when compressed under
       Threshold at      raised threshold or curb? (ADAAG) or is                                                               load.
       Den Bathroom      the threshold a maximum of ½” and                                                                     Barrier Removal: remove threshold
                         beveled 1:1? (1998 CBC)                                                                               Photos: 0222 & 0223
99     Shower – Floor    Is the shower floor surface sloped a           11B-609.9    1115B.6.2.4   4.37            309         Barrier: the drain is depressed ½” below the level of the adjacent
       Level at Den      maximum of 1:48 (2.1%) and drains flush                     .4                                        shower floor.
       Bathroom          with the surface? (1998 CBC and                                                                       Barrier Removal: provide a spacer to raise the drain cover to be flush
                         ADAAG)                                                                                                with the shower floor.
                                                                                                                               Photos: 0220 & 0221
100    Door – Hardware   Is the door hardware operable without          11B-309.4    1117B.6.4     4.13.9          309.4       Barrier: the lock requires pinching and twisting of the wrist to operate.
       Use at Bedroom    requiring tight grasping, pinching, twisting                                                          Barrier Removal: Replace door hardware.
       Bathroom          of the wrist, more than one hand or                                                                   Photos: 0300
                         greater than 5 pounds force?
101    Coat Hook         Is the element accessed by forward             11B-         1118B.5 &     4.2.5 & 6       308.2.1     Barrier: The coat hook is located higher than 48” AFF; measured at
       Height at         approach no higher than 48” AFF?               308.2.1      6                                         59.75“AFF.
       Bedroom                                                                                                                 Barrier Removal: Provide additional coat hook at accessible height.
       Bathroom                                                                                                                Photos: 0303 & 0304
102    Storage – Reach   Where the element is accessed by               11B-         1118B.5       4.2.5 & Fig.    308.2.2     Barrier: The medicine cabinet is too high, measured at 54.“AFF; and
       Range of          forward approach over an obstruction, is       308.2.2                    5(b)                        there is no knee and toe space provided under the counter
       Medicine          the height a maximum 48” AFF when                                                                     obstruction.
       Cabinet in        within 20” of the front of the obstruction                                                            Barrier Removal: relocate medicine cabinet and provide required
       Bedroom           and is knee and toe clearance provided                                                                knee and toe clearance.
       Bathroom          under the obstruction to the same                                                                     Photos: 0242 & 0255
                         extent?
103    Lavatory – Knee   Is knee and toe clearance provided so          11B-606.2    1115B.9.1.1   4.19.3          606.2       Barrier: the lavatory is provided with a base cabinet that provides no
       and Toe           that the clear space extends at least 19”                                                             knee and toe clearance under the lavatory.
       Clearance at      under the lavatory?.                                                                                  Barrier Removal: provide required knee and toe clearance.
       Bedroom                                                                                                                 Photos: 0294 & 0295
       Bathroom
104    Toilet –          Is the distance from the side wall to the      11B-         1115B.7.      4.16.2 &        604.3.1     Barrier: the distance from the wall to the lavatory counter is less than
       Clearance at      nearest obstruction minimum 48” to the         604.3.1                                                60. The distance between the toilet and the lavatory counter is less
       Side at Bedroom   wall and 36” to lavatory? (ADAAG) or                                                                  than 28”.
                         minimum 28” between the toilet and                                                                    Barrier removal: reconfigure to provide the required space.
                         lavatory? (1998 CBC).                                                                                 Photos:0296
105    Shower –          Is the entrance to the shower free of a        11B-608.7    1115B.6.2.2   4.21.7          608.7       Barrier: the shower threshold is 0.875” high when compressed under
       Threshold at      raised threshold or curb? (ADAAG) or a                                                                load.
       Bedroom           threshold that is maximum ½” and                                                                      Barrier Removal: remove.
       Bathroom          beveled 1:1? (1998 CBC)                                                                               Photos:0296
106    Shower – Floor    Is the shower floor surface sloped a           11B-609.9    1115B.6.2.4   4.37            309         Barrier: the drain is depressed ½” below the level of the adjacent
       Level at          maximum of 1:48 (2.1%) and drains flush                     .4                                        shower floor.
       Bedroom           with the surface? (1998 CBC and                                                                       Barrier Removal: Aspect may remain if barriers in the Den Bathroom
       Bathroom          ADAAG)                                                                                                are remediated.
                                                                                                                               Photos:0296



       [3775161.1]                                                                                                                                                                    16
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       Brookdale – Brookhurst Facility                                                                            Access Compliance Evaluation Survey Barrier Report
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Item   Element             Item Requirement                               2019 CBC     1998 CBC       ADAAG       2010 ADA      Barrier, Barrier Removal and Photos
                                                                                        & CPC                     Standards

107    Controls - Height   Is the control accessed by a parallel          11B-         1118B.5 &     4.2.5 & 6    308.2.1       Barrier: the window covering control is located higher than 54” AFF;
       of Blinds Control   approach no higher than 54” AFF? (1998         308.2.1      6                                        measured at 64.25” AFF.
       at Living Room      CBC and ADAAG).                                                                                      Barrier Removal: provide longer wand(s) to extend down to within 48”
       Balcony Door                                                                                                             of the floor level per current standards.
                                                                                                                                Photos: 0258 & 0259
108    Door –              Is the threshold no more than ½” higher        11B-         1133B.2.4.1   4.13.8       404.2.5       Barrier: The sliding door threshold track is higher than ¾”, measured
       Threshold Height    than the floor level at either side? (1998     404.2.5                                               at 2.125” comprising vertical edges at each side.
       at Bedroom          CBC), ¾” at exterior sliding doors?                                                                  Barrier Removal: remove threshold .
       Sliding             (ADAAG).                                                                                             Photos: 0270, 0271 & 0273 thru 0276
       Patio/Balcony
       Door
109    Door – Opening      Is the force required to operate the           11B-         1133B.2.5.1   4.13.11 &    404.2.9 9 &   Barrier: The force required to operate the door exceeds 5 lbs.,
       Force at            sliding door no more than 5 lbs.?              404.2.9.33   &             28 CFR       28 CFR        measured at 11 lbs. in order to open the door to 21” clear, then 30 lbs.
       Bedroom Sliding                                                    & 11B-108    1101B.3.1     §36.211      §36.211       to fully open the door, apparently due to a damaged bottom track.
       Patio/Balcony                                                                   &2                                       Barrier Removal: Replace or repair door to bring within maximum
       Door                                                                                                                     opening pressure.
                                                                                                                                Photos:0264, 0265 & 0267
      Room 304 – Vacant One Bedroom
Room 304 – Vacant One Bedroom
Designated as Unit-C on building plans at 629 SF, including one large bedroom with a window and a bathroom with roll-in shower, a living room and wet bar with
window and access to the balcony.
110    Door – Hardware     Is the door hardware operable without          11B-309.4    1117B.6.4     4.13.9       309.4         Barrier: the deadbolt lock requires pinching and twisting of the wrist to
       Use at Unit         requiring tight grasping, pinching, twisting                                                         operate.
       Entrance            of the wrist, more than one hand or                                                                  Barrier Removal: provide an additional deadbolt with accessible
                           greater than 5 pounds force?                                                                         handle.
                                                                                                                                Photos: 0307 & 0308

111    Door – Peephole     Are door vision panels no higher than 43”      11B-         N/A           28 CFR §     404.2.11      Barrier: The peephole is located too high to be usable by a person in
       Height at Unit      AFF?                                           404.2.11                   36.202                     a wheelchair or of low stature, measured at 60” AFF.
       Entrance                                                                                                                 Barrier Removal: add an additional peephole below the existing
                                                                                                                                peephole.
                                                                                                                                Photos: 0307 & 0309
112    Controls –          Is the control accessed by parallel            11B-         1118B.5 &     4.2.5 & 6    308.2.1       Barrier: The thermostat is located such that the control is higher than
       Height of           approach no higher than 48” AFF?               308.2.1      6                                        48” AFF; measured at 49.5“ AFF. Note: The thermostat appears to
       Thermostat          (pertinent to current CBC and ADA                                                                    have been provided after initial construction and subject to later
       control             standards) no higher than 54” AFF?                                                                   applicable standards.
                           (pertinent to 1998 CBC and ADAAG)                                                                    Barrier Removal: relocate surface mounted thermostat.
                                                                                                                                Photos: 0358
113    Door – Clear        Is the minimum clear width at the sliding      11B-         1133B.2.2     4.13.5       404.2.3       Barrier: The clear width is less than 32”, measured at 30.75” because
       Width at living     door 32” minimum?                              404.2.3                                               a bumper prevents the door from opening fully.
       Room Sliding                                                                                                             Barrier Removal: modify or replace bumper so that the door can
       Balcony Door                                                                                                             open to the extent that it provides minimum 32” clear.
                                                                                                                                Photos: 0318
114    Door –              Is the threshold no more than ½” higher        11B-         1133B.2.4.1   4.13.8       404.2.5       Barrier: The sliding door threshold track is higher than ¾”, measured
       Threshold Height    than the floor level at either side? (1998     404.2.5                                               at 2.125” comprising vertical edges at each side.
       at Living Room      CBC and ) ¾” at exterior sliding doors?                                                              Barrier Removal: Remove and replace the sliding door and frame
       Sliding             ADAAG).                                                                                              with one with a semi recessed bottom track, or alternately, replace the
       Patio/Balcony                                                                                                            sliding door with a pair of swinging doors with a standard threshold.
       Door                                                                                                                     Photos: 0319 & 0320

       [3775161.1]                                                                                                                                                                     17
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       Brookdale – Brookhurst Facility                                                                              Access Compliance Evaluation Survey Barrier Report
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                                                                                       & CPC                        Standards

115    Controls - Height   Is the control accessed by a parallel          11B-        1118B.5 &     4.2.5 & 6       308.2.1     Barrier: the window covering control is located higher than 54” AFF;
       of Window latch     approach no higher than 48” AFF?               308.2.1     6                                         measured at 69” AFF.
       at Living Room      (current standards) 54” AFF? (1998 CBC                                                               Barrier Removal: relocate window hardware to height required by
       Window              and ADAAG).                                                                                          current standards.
                                                                                                                                Photos: 0322 & 0324
116    Door – Hardware     Is the door hardware operable without          11B-309.4   1117B.6.4     4.13.9          309.4       Barrier: the lock requires pinching and twisting of the wrist to operate.
       Use at Bathroom     requiring tight grasping, pinching, twisting                                                         Barrier Removal: replace hardware set.
                           of the wrist, more than one hand or                                                                  Photos: 0335
                           greater than 5 pounds force?
117    Coat Hook           Is the element accessed by forward             11B-        1118B.5 &     4.2.5 & 6       308.2.1     Barrier: The coat hook is located higher than 48” AFF; measured at
       Height at           approach no higher than 48” AFF?               308.2.1     6                                         60“ AFF.
       Bathroom                                                                                                                 Barrier Removal: Relocate coat hook or provide a second lower coat
                                                                                                                                hook.
                                                                                                                                Photos: 0328, 0335 & 0336
118    Storage – Reach     Where the element is accessed by               11B-        1118B.5       4.2.5 & Fig.    308.2.2     Barrier: The medicine cabinet is too high, measured at 54“AFF; and
       Range of            forward approach over an obstruction, is       308.2.2                   5(b)                        there is no knee and toe space provided under the counter
       Medicine            the height a maximum 48” AFF when                                                                    obstruction.
       Cabinet in Den      within 20” of the front of the obstruction                                                           Barrier Removal: Lower the recessed medicine cabinet and provide
       Bathroom            and is knee and toe clearance provided                                                               knee and toe clearance at the lavatory.
                           under the obstruction to the same                                                                    Photos: 0331
                           extent?
119    Lavatory – Knee     Is knee and toe clearance provided so          11B-606.2   1115B.9.1.1   4.19.3          606.2       Barrier: the lavatory is provided with a base cabinet that provides no
       and Toe             that the clear space extends at least 19”                                                            knee and toe clearance under the lavatory.
       Clearance at        under the lavatory?                                                                                  Barrier Removal: modify the base cabinet to provide knee and toe
       Den Bathroom                                                                                                             clearance.
                                                                                                                                Photos: 0350
120    Toilet –            Is the distance from the side wall to the      11B-        1115B.7.      4.16.2 &        604.3.1     Barrier: the distance from the wall to the lavatory counter is less than
       Clearance at        nearest obstruction minimum 60”?               604.3.1                   Fig. 28                     60”, measured at 50.5“to the lavatory counter and 48.25” to the towel
       Side at Den         (current standards) minimum 48” to the                                                               bar. There is less than 28” provided between the toilet and the
       Bathroom            wall and 36” to lavatory? (ADAAG)                                                                    lavatory, measured at 23” to counter and 20.75” to towel bar.
                           minimum 28” between the toilet and                                                                   Barrier Removal: Modify the lavatory counter in order to provide more
                           lavatory? (1998 CBC).                                                                                clearance. Remove the towel bar.
                                                                                                                                Photos: 0344 thru 0346
121    Toilet – Location   Is the flush valve located on the wide         11B-604.6   1502.0        4.16.5          604.6       Barrier: The flush valve is located at the wall side of the toilet area
       of flush Valve      side of the toilet area?                                                                             rather than the wide side.
       Control at Den                                                                                                           Barrier Removal: Replace flush tank with one with the flush valve
       Bathroom                                                                                                                 handle located at the wide side.
                                                                                                                                Photos: 0330 & 0339
122    Toilet – Toilet     Is the centerline of the toilet paper          11B-        1115B.9.3     4.16.6 &        604.7.1     Barrier: The location of this dispenser does not conform to any
       Paper Dispenser     dispenser located 7” to 9” from the front      604.7.1     & Fig. 85     Fig. 29(b)                  standard: The centerline of the dispenser is not 7” to 9” in front of the
       Location at Den     of the toilet to the centerline of the                                                               front of the toilet, nor within 12” of the front of the toilet, nor within 36”
       Bathroom            dispenser? (current standards) located                                                               of the back wall. It is located more than 36” from the rear wall and
                           within 12” from the front of the toilet?                                                             13.25” in front of the toilet.
                           (1998 CBC) entire dispenser within 36” of                                                            Barrier Removal: Relocate the surface mounted toilet paper
                           the rear wall? (the ADAAG).                                                                          dispenser
                                                                                                                                Photos: 0330 & 0340




       [3775161.1]                                                                                                                                                                         18
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       Brookdale – Brookhurst Facility                                                                          Access Compliance Evaluation Survey Barrier Report
       15302 Brookhurst St., Westminster, CA 92683                                                             Survey Date: June 19, 2019 / Report Date: August 5, 2021
Item   Element            Item Requirement                               2019 CBC     1998 CBC       ADAAG      2010 ADA    Barrier, Barrier Removal and Photos
                                                                                       & CPC                    Standards

123    Grab Bar –         Is the area minimum 12” above the grab         11 B-609.3   1133B.4.2.5   4.26.2      609.3       Barrier: The area below the rear grab bar is not clear; it is located so
       Obstructed         bar and minimum 1.5” below and at sides                     ,1133B.5.5.                           that there is almost no clearance between the bottom of the bar and
       Above/Below at     of the grab bar clear of projecting                         1 & Fig.                              the top of the toilet tank, rather than 1.5” minimum.
       Den Bathroom       elements?                                                   11B-36                                Barrier Removal: Relocate the grab bar.
                                                                                                                            Photos: 0330, 0331 & 0343
124    Shower –           Is the entrance to the shower free of a        11B-608.7    1115B.6.2.2   4.21.7      608.7       Barrier: the shower threshold is 0.875” high when compressed under
       Threshold at       raised threshold or curb? ( ADAAG)                                                                load.
       Den Bathroom       threshold that is ½” maximum and                                                                  Barrier Removal: remove threshold
                          beveled 1:1? ( 1998 CBC) threshold that                                                           Photos:0333
                          is ½” maximum with the portion between
                          ¼” high and ½” high sloping at 1:2? (
                          current standards).
125    Shower – Floor     Is the shower floor surface sloped a           11B-609.9    1115B.6.2.4   4.37        309         Barrier: the drain is depressed ½” below the level of the adjacent
       Level at Den       maximum of 1:48 (2.1%) and drains flush                     .4                                    shower floor.
       Bathroom           with the surface? (1998 CBC and                                                                   Barrier Removal: provide a spacer to raise the drain cover to be flush
                          ADAAG)                                                                                            with the shower floor.
                                                                                                                            Photos:0332 & 0333
126    Door – Hardware    Is the door hardware operable without          11B-309.4    1117B.6.4     4.13.9      309.4       Barrier: the lock requires pinching and twisting of the wrist to operate.
       Use at Bedroom     requiring tight grasping, pinching, twisting                                                      Barrier Removal: Aspect may remain if barriers in the Den Bathroom
       Bathroom           of the wrist, more than one hand or                                                               are remediated.
                          greater than 5 pounds force? Note: one                                                            Photos: 0355 & 0356
                          of two bathrooms provided where only
                          one accessible bathroom is required.
      Room 315 – Vacant One Bedroom
Room 315 – Vacant One Bedroom
Designated as Unit-D on building plans at 658 SF, including one large bedroom with a window and bathroom with roll-in shower, and a living room and wet bar with
access to the balcony.
127    Door – Hardware    Is the door hardware operable without          11B-309.4    1117B.6.4     4.13.9      309.4       Barrier: the deadbolt lock requires pinching and twisting of the wrist to
       Use at Unit        requiring tight grasping, pinching, twisting                                                      operate.
       Entrance           of the wrist, more than one hand or                                                               Barrier Removal: provide an additional deadbolt with accessible
                          greater than 5 pounds force?                                                                      handle.
                                                                                                                            Photos: 0361 & 0362

128    Door – Peephole    Are door vision panels no higher than 43”      11B-         N/A           28 CFR §    404.2.11    Barrier: The peephole is located too high to be usable by a person in
       Height at Unit     AFF?                                           404.2.11                   36.202                  a wheelchair or of low stature, measured at 59.75” AFF.
       Entrance                                                                                                             Barrier Removal: add an additional peephole below the existing
                                                                                                                            peephole.
                                                                                                                            Photos: 0362 & 0363
129    Door – Clear       Is the minimum clear width at the sliding      11B-         1133B.2.2     4.13.5      404.2.3     Barrier: The clear width is less than 32”, measured at 30” because a
       Width at living    door 32” minimum?                              404.2.3                                            bumper prevents the door from opening fully.
       Room Sliding                                                                                                         Barrier Removal: modify or replace bumper so that the door can
       Balcony Door                                                                                                         open to the extent that it provides minimum 32” clear.
                                                                                                                            Photos: 0369
130    Door –             Is the threshold no more than ½” higher        11B-         1133B.2.4.1   4.13.8      404.2.5     Barrier: The sliding door threshold track is higher than ¾”, measured
       Threshold Height   than the floor level at either side? (1998     404.2.5                                            at 2.75” comprising vertical edges at each side.
       at Living Room     CBC) ¾” at exterior sliding doors?                                                                Barrier Removal: Remove and replace the sliding door and frame
       Sliding            (ADAAG).                                                                                          with one with a semi recessed bottom track, or alternately, replace the
       Patio/Balcony                                                                                                        sliding door with a pair of swinging doors with a standard threshold.
       Door                                                                                                                 Photos: 0372 thru 0374

       [3775161.1]                                                                                                                                                                 19
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       Brookdale – Brookhurst Facility                                                                               Access Compliance Evaluation Survey Barrier Report
       15302 Brookhurst St., Westminster, CA 92683                                                                  Survey Date: June 19, 2019 / Report Date: August 5, 2021
Item   Element              Item Requirement                               2019 CBC    1998 CBC        ADAAG         2010 ADA    Barrier, Barrier Removal and Photos
                                                                                        & CPC                        Standards

131    Door – Hardware      Is the door hardware operable without          11B-309.4   1117B.6.4     4.13.9          309.4       Barrier: the lock requires pinching and twisting of the wrist to operate.
       Use at Bedroom       requiring tight grasping, pinching, twisting                                                         Barrier Removal: replace lockset.
       Entrance             of the wrist, more than one hand or                                                                  Photos: 0375 & 0376
                            greater than 5 pounds force?
132    Controls - Height    Is the control accessed by a parallel          11B-        1118B.5 &     4.2.5 & 6       308.2.1     Barrier: the window latch is located higher than 48” AFF; measured at
       of Blinds Control    approach no higher than 48” AFF?               308.2.1     6                                         69” AFF.
       at Bedroom           (current standards) 54” AFF? (1998 CBC                                                               Barrier Removal: relocate the latch.
       Window               and ADAAG).                                                                                          Photos: 0380 & 0381
133    Door – Hardware      Is the door hardware operable without          11B-309.4   1117B.6.4     4.13.9          309.4       Barrier: the lock requires pinching and twisting of the wrist to operate.
       Use at Bathroom      requiring tight grasping, pinching, twisting                                                         Barrier Removal: replace hardware set.
                            of the wrist, more than one hand or                                                                  Photos: 0382 & 0389
                            greater than 5 pounds force?
134    Coat Hook            Is the element accessed by forward             11B-        1118B.5 &     4.2.5 & 6       308.2.1     Barrier: The coat hook is located higher than 48” AFF; measured at
       Height at            approach no higher than48” AFF?                308.2.1     6                                         59.75“ AFF.
       Bathroom                                                                                                                  Barrier Removal: Relocate coat hook or provide a second lower coat
                                                                                                                                 hook.
                                                                                                                                 Photos: 0382 & 0390
135    Storage – Reach      Where the element is accessed by               11B-        1118B.5       4.2.5 & Fig.    308.2.2     Barrier: The medicine cabinet is too high, measured at 54“ AFF; and
       Range of             forward approach over an obstruction, is       308.2.2                   5(b)                        there is no knee and toe space provided under the counter
       Medicine             the height a maximum 48” AFF when                                                                    obstruction.
       Cabinet in           within 20” of the front of the obstruction                                                           Barrier Removal: Lower the recessed medicine cabinet and provide
       Bathroom             and is knee and toe clearance provided                                                               knee and toe clearance at the lavatory.
                            under the obstruction to the same                                                                    Photos: 0398
                            extent?
136    Lavatory – Knee      Is knee and toe clearance provided so          11B-606.2   1115B.9.1.1   4.19.3          606.2       Barrier: the lavatory is provided with a base cabinet that provides no
       and Toe              that the clear space extends at least 19”                                                            knee and toe clearance under the lavatory.
       Clearance at         under the lavatory?                                                                                  Barrier Removal: modify the base cabinet to provide knee and toe
       Bathroom                                                                                                                  clearance.
                                                                                                                                 Photos: 0385, 0387 & 0388
137    Toilet –             Is the distance from the side wall to the      11B-        1115B.7.2     4.16.2 &        604.3.1     Barrier: the distance from the wall to the lavatory counter is less than
       Clearance at         nearest obstruction minimum 60”?               604.3.1                   Fig. 28                     60”, measured at 50.5“. Note: the distance between the toilet and the
       Side at              (current standards) minimum 48” to the                                                               lavatory counter is less than 28”, measured at 23.5” to the lavatory
       Bathroom             wall and 36” to lavatory? (ADAAG)                                                                    counter.
                            minimum 28” between the toilet and                                                                   Barrier Removal: Modify the lavatory counter in order to provide more
                            lavatory? (the 1998 CBC).                                                                            clearance.
                                                                                                                                 Photos: 0386, 0394 & 0396
138    Toilet – Height of   Is the toilet seat 17” to 19” AFF?             11B-604.4   1502.0        4.16.3          604.4       Barrier: the toilet seat is lower than 17”, measured at 15.25” AFF.
       Seat at                                                                                                                   Barrier Removal: replace toilet.
       Bathroom                                                                                                                  Photos: 0386 & 0392
139    Grab Bar –           Does the side grab bar extend a                11B-        1115B.8.1     4.17.6 &        604.5.1     Barrier: The Side grab bar begins farther than 12” from the rear wall,
       Location of Side     minimum of 54” from the rear wall?             604.5.1                   Fig. 29 & 30                measured at 13.75”.
       Bar                  (current CBC and ADA and ADAAG)                                                                      Barrier Removal: Relocate the grab bar.
                            extend a minimum of 24” in front of the                                                              Photos: 0386 & 0394
                            toilet? (1998 and 2019 CBC). Does the
                            side grab bar begin a maximum of 12”
                            from the rear wall?
140    Shower –             Is the entrance to the shower free of a        11B-608.7   1115B.6.2.2   4.21.7          608.7       Barrier: the shower threshold is 0.875” high when compressed under
       Threshold at         raised threshold or curb? (ADAAG)                                                                    load.
       Den Bathroom         threshold that is ½” maximum and                                                                     Barrier Removal: remove threshold
                            beveled 1:1? (1998 CBC)                                                                              Photos: 0402

       [3775161.1]                                                                                                                                                                       20
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       Brookdale – Brookhurst Facility                                                                           Access Compliance Evaluation Survey Barrier Report
       15302 Brookhurst St., Westminster, CA 92683                                                              Survey Date: June 19, 2019 / Report Date: August 5, 2021
Item   Element             Item Requirement                               2019 CBC    1998 CBC       ADAAG       2010 ADA    Barrier, Barrier Removal and Photos
                                                                                       & CPC                     Standards

141    Shower –            Is a handheld spray unit provided              11B-        1115B.6.2.4   4.2.5 & 6    308.2.1     Barrier: the non-adjustable mounting hook is located 69” above the
       Handheld            mounted at a maximum height of 48”             308.2.1     .2                                     shower floor level.
       Sprayer Mount       above the shower floor?                                                                           Barrier Removal: Provide a lower hook.
       Height at Den                                                                                                         Photos: 0399 & 0400
       Bathroom
      Room 325 – Vacant Studio
Room 325 – Vacant Studio
Designated as Unit-B on building plans at 530 SF, including a bathroom with roll-in shower, a wet bar, a living room area with access to the balcony and a bedroom
area with window.
142    Door – Hardware     Is the door hardware operable without          11B-309.4   1117B.6.4     4.13.9       309.4       Barrier: the deadbolt lock requires pinching and twisting of the wrist to
       Use at Unit         requiring tight grasping, pinching, twisting                                                      operate.
       Entrance            of the wrist, more than one hand or                                                               Barrier Removal: provide an additional deadbolt with accessible
                           greater than 5 pounds force?                                                                      handle.
                                                                                                                             Photos: 409 & 0412

143    Door – Peephole     Are door vision panels no higher than 43”      11B-        N/A           28 CFR §     404.2.11    Barrier: The peephole is located too high to be usable by a person in
       Height at Unit      AFF?                                           404.2.11                  36.202                   a wheelchair or of low stature, measured at 60” AFF.
       Entrance                                                                                                              Barrier Removal: add an additional peephole below the existing
                                                                                                                             peephole.
                                                                                                                             Photos: 0412 & 0413
144    Door – Clear        Is the minimum clear width at the sliding      11B-        1133B.2.2     4.13.5       404.2.3     Barrier: The clear width is less than 32”, measured at 29.5” because a
       Width at living     door 32” minimum?                              404.2.3                                            bumper prevents the door from opening fully.
       Room Sliding                                                                                                          Barrier Removal: modify or replace bumper so that the door can
       Balcony Door                                                                                                          open to the extent that it provides minimum 32” clear.
                                                                                                                             Photos: 0438 & 0439
145    Door –              Is the threshold no more than ½” higher        11B-        1133B.2.4.1   4.13.8       404.2.5     Barrier: The sliding door threshold track is higher than ¾”, it is 2.175”
       Threshold Height    than the floor level at either side? (1998     404.2.5                                            high comprising vertical edges at each side.
       at Living Room      CBC), ¾” at exterior sliding doors?                                                               Barrier Removal: Remove and replace the sliding door and frame
       Sliding             (ADAAG).                                                                                          with one with a semi recessed bottom track, or alternately, replace the
       Patio/Balcony                                                                                                         sliding door with a pair of swinging doors with a standard threshold.
       Door                                                                                                                  Photos: 0439
146    Controls - Height   Is the control accessed by a parallel          11B-        1118B.5 &     4.2.5 & 6    308.2.1     Barrier: the window covering control is located higher than 454” AFF;
       of Blinds Control   approach no higher than 48” AFF?               308.2.1     6                                      it is 60” AFF.
       at Living Room      (current standards) 54” AFF? (1998 and                                                            Barrier Removal: provide longer wand(s) to extend down to within 48”
       Balcony Door        ADAAG).                                                                                           of the floor level.
                                                                                                                             Photos: 0441
147    Controls - Height   Is the control accessed by a parallel          11B-        1118B.5 &     4.2.5 & 6    308.2.1     Barrier: the window covering control is located higher than 54” AFF; it
       of Latch at         approach no higher than 48” AFF?               308.2.1     6                                      is 60” AFF.
       Bedroom             (current standards) 54” AFF? (1998 and                                                            Barrier Removal: Relocate the latch.
       Window              ADAAG).                                                                                           Photos: 0436 & 0437
148    Door – Hardware     Is the door hardware operable without          11B-309.4   1117B.6.4     4.13.9       309.4       Barrier: the lock requires pinching and twisting of the wrist to operate.
       Use at Bathroom     requiring tight grasping, pinching, twisting                                                      Barrier Removal: replace hardware set.
                           of the wrist, more than one hand or                                                               Photos: 0414 & 0415
                           greater than 5 pounds force?
149    Coat Hook           Is the element accessed by forward             11B-        1118B.5 &     4.2.5 & 6    308.2.1     Barrier: The coat hook is located higher than 48” AFF; it is 60“ AFF.
       Height at           approach no higher than48” AFF?                308.2.1     6                                      Barrier Removal: Relocate coat hook or provide a second lower coat
       Bathroom                                                                                                              hook.
                                                                                                                             Photos: 0415


       [3775161.1]                                                                                                                                                                  21
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       Brookdale – Brookhurst Facility                                                                            Access Compliance Evaluation Survey Barrier Report
       15302 Brookhurst St., Westminster, CA 92683                                                               Survey Date: June 19, 2019 / Report Date: August 5, 2021
Item   Element            Item Requirement                             2019 CBC     1998 CBC        ADAAG         2010 ADA    Barrier, Barrier Removal and Photos
                                                                                     & CPC                        Standards

150    Storage – Reach    Where the element is accessed by             11B-         1118B.5       4.2.5 & Fig.    308.2.2     Barrier: The medicine cabinet is too high, it is 54” AFF; and there is
       Range of           forward approach over an obstruction, is     308.2.2                    5(b)                        no knee and toe space provided under the counter obstruction.
       Medicine           the height a maximum 48” AFF when                                                                   Barrier Removal: Lower the recessed medicine cabinet and provide
       Cabinet in         within 20” of the front of the obstruction                                                          knee and toe clearance at the lavatory.
       Bathroom           and is knee and toe clearance provided                                                              Photos:0458
                          under the obstruction to the same
                          extent?
151    Lavatory – Knee    Is knee and toe clearance provided so        11B-606.2    1115B.9.1.1   4.19.3          606.2       Barrier: the lavatory is provided with a base cabinet that provides no
       and Toe            that the clear space extends at least 19”                                                           knee and toe clearance under the lavatory.
       Clearance at       under the lavatory?                                                                                 Barrier Removal: modify the base cabinet to provide knee and toe
       Bathroom                                                                                                               clearance.
                                                                                                                              Photos:0417 & 0418
152    Toilet –           Is the distance from the side wall to the    11B-         1115B.7.2 –   4.16.2 &        604.3.1     Barrier: the distance from the wall to the lavatory counter is less than
       Clearance at       nearest obstruction minimum 60”?             604.3.1      see note at   Fig. 28 –                   60”, measured at 51.5“. Note: the distance between the toilet and the
       Side at Den        (current standards) minimum 48” to the                    right         see note at                 lavatory counter is less than 28”, measured at 24” to the lavatory
       Bathroom           wall and 36” to lavatory? (ADAAG)                                       right                       counter.
                          minimum 28” between the toilet and                                                                  Barrier Removal: Modify the lavatory counter in order to provide more
                          lavatory? (the 1998 CBC). Note: one of                                                              clearance.
                          two bathrooms provided where only one                                                               Photos: 0421, 0428, 0429 & 0430
                          accessible bathroom is required.
153    Grab Bar –         Is the area minimum 12” above the grab       11 B-609.3   1133B.4.2.5   4.26.2          609.3       Barrier: The area below the rear grab bar is not clear; it is located so
       Obstructed         bar and minimum 1.5” below and at sides                   ,1133B.5.5.                               that there is no space between the bottom of the bar and the top of the
       Above/Below at     of the grab bar clear of projecting                       1 & Fig.                                  toilet tank, rather than 1.5” minimum.
       Den Bathroom       elements?                                                 11B-36                                    Barrier Removal: Relocate the grab bar.
                                                                                                                              Photos: 0421 & 0435
154    Grab Bar –         Does the side grab bar extend a              11B-         1115B.8.1     4.17.6 &        604.5.1     Barrier: The Side grab bar does not begin within 12” of the rear wall,
       Location of Side   minimum of 54” from the rear wall?           604.5.1                    Fig. 29 & 30                measured at beginning 13.5” from the rear wall.
       Bar                (current CBC and ADA and ADAAG)                                                                     Barrier Removal: Relocate the grab bar.
                          extend a minimum of 24” in front of the                                                             Photos: 0421 & 0434
                          toilet? (1998 and 2019 CBC). Does the
                          side grab bar begin a maximum of 12”
                          from the rear wall?
155    Shower –           Is the entrance to the shower free of a      11B-608.7    1115B.6.2.2   4.21.7          608.7       Barrier: the shower threshold is 0.875” high when compressed under
       Threshold at       raised threshold or curb? (ADAAG)                                                                   load.
       Bathroom           threshold that is ½” maximum and                                                                    Barrier Removal: remove threshold
                          beveled 1:1? (1998 CBC)).                                                                           Photos: 0422
156    Shower – Floor     Is the shower floor surface sloped a         11B-609.9    1115B.6.2.4   4.37            309         Barrier: the drain is depressed ½” below the level of the adjacent
       Level at           maximum of 1:48 (2.1%) and drains flush                   .4                                        shower floor.
       Bathroom           with the surface? (1998 and 2019 CBC                                                                Barrier Removal: provide a spacer to raise the drain cover to be flush
                          and ADAAG) conforming to level change                                                               with the shower floor.
                          requirements for an accessible route?                                                               Photos: 0422
                          (2010 ADA).
157    Shower –           Is a handheld spray unit provided            11B-         1115B.6.2.4   4.2.5 & 6       308.2.1     Barrier: the non-adjustable handheld shower mount is higher than 48”
       Handheld           mounted at a maximum height of 48”           308.2.1      .2                                        above the floor surface of the shower, measured at 51.5” above the
       Sprayer Mount      above the shower floor?                                                                             floor.
       Height at                                                                                                              Barrier Removal: provide a lower mounting bracket.
       Bathroom                                                                                                               Photos: 0432 & 0431
       Room 317 – Vacant Studio (Sales Model)


       [3775161.1]                                                                                                                                                                  22
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       Brookdale – Brookhurst Facility                                                                              Access Compliance Evaluation Survey Barrier Report
       15302 Brookhurst St., Westminster, CA 92683                                                                 Survey Date: June 19, 2019 / Report Date: August 5, 2021
Item   Element             Item Requirement                               2019 CBC    1998 CBC        ADAAG         2010 ADA    Barrier, Barrier Removal and Photos
                                                                                       & CPC                        Standards

Room 317 – Vacant Studio (Sales Model)
Designated as Unit-B on building plans at 530 SF, including a bathroom with roll-in shower, a wet bar, a living room area with access to the balcony and a bedroom
area with window.
158    Door – Hardware     Is the door hardware operable without          11B-309.4   1117B.6.4     4.13.9          309.4       Barrier: the deadbolt lock requires pinching and twisting of the wrist to
       Use at Unit         requiring tight grasping, pinching, twisting                                                         operate.
       Entrance            of the wrist, more than one hand or                                                                  Barrier Removal: provide an additional deadbolt with accessible
                           greater than 5 pounds force?                                                                         handle.
                                                                                                                                Photos: 0452
159    Door – Peephole     Are door vision panels no higher than 43”      11B-        N/A           28 CFR §        404.2.11    Barrier: The peephole is located too high to be usable by a person in
       Height at Unit      AFF?                                           404.2.11                  36.202                      a wheelchair or of low stature, it is 60” AFF.
       Entrance                                                                                                                 Barrier Removal: add an additional peephole below the existing
                                                                                                                                peephole.
                                                                                                                                Photos: 0443
160    Door Threshold      Is the threshold height above the floor        404.2.5 &   1133BV.2.4    4.13.8 & 28     404.2.5 &   Barrier: the screws holding down the threshold are loose and
       – Height at Unit    level at either side of the door no higher     11B-108     .1&           CFR             28 CFR      projecting above the top of the threshold.
       Entrance            than ½”, or ¾” specifically for exterior                   1101B.3.1     §36.211         §36.211     Barrier Removal: tighten or repair threshold fasteners.
                           sliding doors?                                             &2                                        Photos: 0447
161    Door – Clear        Is the minimum clear width at the sliding      11B-        1133B.2.2     4.13.5          404.2.3     Barrier: The clear width is less than 32”, measured at 31.75” because
       Width at living     door 32” minimum?                              404.2.3                                               a bumper prevents the door from opening fully.
       Room Sliding                                                                                                             Barrier Removal: modify or replace bumper so that the door can
       Balcony Door                                                                                                             open to the extent that it provides minimum 32” clear.
                                                                                                                                Photos: 0485
162    Door –              Is the threshold no more than ½” higher        11B-        1133B.2.4.1   4.13.8          404.2.5     Barrier: The sliding door threshold track is higher than ¾”, it is 2.”
       Threshold Height    than the floor level at either side? (1998     404.2.5                                               comprising vertical edges at each side.
       at Living Room      CBC), ¾” at exterior sliding doors?                                                                  Barrier Removal: Remove and replace the sliding door and frame
       Sliding             (ADAAG).                                                                                             with one with a semi recessed bottom track, or alternately, replace the
       Patio/Balcony                                                                                                            sliding door with a pair of swinging doors with a standard threshold.
       Door                                                                                                                     Photos: 0487
163    Controls - Height   Is the control accessed by a parallel          11B-        1118B.5 &     4.2.5 & 6       308.2.1     Barrier: the window covering control is located higher than 54” AFF;
       of Latch at         approach no higher than 48” AFF?               308.2.1     6                                         located at 60” AFF.
       Bedroom             (current standards) 54” AFF? (1998 CBC                                                               Barrier Removal: Relocate the latch.
       Window              and ADAAG).                                                                                          Photos: 0481 & 0482
164    Door – Hardware     Is the door hardware operable without          11B-309.4   1117B.6.4     4.13.9          309.4       Barrier: the lock requires pinching and twisting of the wrist to operate.
       Use at Bathroom     requiring tight grasping, pinching, twisting                                                         Barrier Removal: replace hardware set.
                           of the wrist, more than one hand or                                                                  Photos: 0455 & 0471
                           greater than 5 pounds force?
165    Coat Hook           Is the element accessed by forward             11B-        1118B.5 &     4.2.5 & 6       308.2.1     Barrier: The coat hook is located higher than 48” AFF; it is 60“ AFF.
       Height at           approach no higher than48” AFF?                308.2.1     6                                         Barrier Removal: Relocate coat hook or provide a second lower coat
       Bathroom                                                                                                                 hook.
                                                                                                                                Photos: 0456
166    Storage – Reach     Where the element is accessed by               11B-        1118B.5       4.2.5 & Fig.    308.2.2     Barrier: The medicine cabinet is too high, it is 54”AFF; and there is no
       Range of            forward approach over an obstruction, is       308.2.2                   5(b)                        knee and toe space provided under the counter obstruction.
       Medicine            the height a maximum 48” AFF when                                                                    Barrier Removal: Lower the recessed medicine cabinet and provide
       Cabinet in          within 20” of the front of the obstruction                                                           knee and toe clearance at the lavatory.
       Bathroom            and is knee and toe clearance provided                                                               Photos: 0458 & 0460
                           under the obstruction to the same
                           extent?



       [3775161.1]                                                                                                                                                                     23
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       Brookdale – Brookhurst Facility                                                                             Access Compliance Evaluation Survey Barrier Report
       15302 Brookhurst St., Westminster, CA 92683                                                                Survey Date: June 19, 2019 / Report Date: August 5, 2021
Item   Element            Item Requirement                               2019 CBC    1998 CBC       ADAAG          2010 ADA    Barrier, Barrier Removal and Photos
                                                                                      & CPC                        Standards

167    Lavatory – Knee    Is knee and toe clearance provided so          11B-606.2   1115B.9.1.1   4.19.3          606.2       Barrier: the lavatory is provided with a base cabinet that provides no
       and Toe            that the clear space extends at least 19”                                                            knee and toe clearance under the lavatory.
       Clearance at       under the lavatory?.                                                                                 Barrier Removal: modify the base cabinet to provide knee and toe
       Bathroom                                                                                                                clearance.
                                                                                                                               Photos:0458 & 0459
168    Toilet –           Is the distance from the side wall to the      11B-        1115B.7.2     4.16.2 &        604.3.1     Barrier: the distance from the wall to the lavatory counter is less than
       Clearance at       nearest obstruction minimum 60”?               604.3.1                   Fig. 28                     60”, measured at 51.5“. Note: the distance between the toilet and the
       Side at Den        (current standards) minimum 48” to the                                                               lavatory counter is less than 28”, measured at 22.75” to the lavatory
       Bathroom           wall and 36” to lavatory? (ADAAG)                                                                    counter.
                          minimum 28” between the toilet and                                                                   Barrier Removal: Modify the lavatory counter in order to provide more
                          lavatory? (the 1998 CBC). Note: one of                                                               clearance.
                          two bathrooms provided where only one                                                                Photos: 0466, 0471, 0472 & 0474
                          accessible bathroom is required.
169    Grab Bar –         Does the side grab bar extend a                11B-        1115B.8.1     4.17.6 &        604.5.1     Barrier: The Side grab bar does not begin within 12” of the rear wall,
       Location of Side   minimum of 54” from the rear wall?             604.5.1                   Fig. 29 & 30                measured beginning 14’ from the rear wall.
       Bar at Bathroom    (ADAAG) and a minimum of 24” in front                                                                Barrier Removal: Relocate the grab bar to conform to current CBC
                          of the toilet? (1998 CBC). Does the side                                                             and ADA standards.
                          grab bar begin a maximum of 12” from                                                                 Photos: 0457, 0469 & 0470
                          the rear wall?
170    Shower –           Is the entrance to the shower free of a        11B-608.7   1115B.6.2.2   4.21.7          608.7       Barrier: the shower threshold is 0.75” high when compressed under
       Threshold at       raised threshold or curb? (ADAAG) or a                                                               load.
       Bathroom           threshold that is ½” maximum and                                                                     Barrier Removal: remove threshold
                          beveled 1:1? (1998 CBC)                                                                              Photos: 0475 & 0476
171    Shower –           Is a handheld spray unit provided              11B-        1115B.6.2.4   4.2.5 & 6       308.2.1     Barrier: the stationary handheld sprayer mount is higher than 48”,
       Handheld           mounted at a maximum height of 48”             308.2.1     .2                                        measured at 69” above the shower floor.
       Sprayer Mount      above the shower floor?                                                                              Barrier Removal: provide a mount at a lower location.
       Height at                                                                                                               Photos: 0461, 0479 & 0480
       Bathroom
      Room 336 – Vacant One Bedroom
Room 336 – Vacant One Bedroom
Designated as Unit-A on building plans at 496 SF, including a bathroom with roll-in shower, a wet bar, a living room area with access to the balcony and a bedroom
area with window.
172    Door – Hardware    Is the door hardware operable without          11B-309.4   1117B.6.4     4.13.9          309.4       Barrier: the deadbolt lock requires pinching and twisting of the wrist to
       Use at Unit        requiring tight grasping, pinching, twisting                                                         operate.
       Entrance           of the wrist, more than one hand or                                                                  Barrier Removal: provide an additional deadbolt with accessible
                          greater than 5 pounds force?                                                                         handle.
                                                                                                                               Photos: 0495 & 0496
173    Door – Peephole    Are door vision panels no higher than 43”      11B-        N/A           28 CFR §        404.2.11    Barrier: The peephole is located too high to be usable by a person in
       Height at Unit     AFF?                                           404.2.11                  36.202                      a wheelchair or of low stature, it is 59” AFF.
       Entrance                                                                                                                Barrier Removal: add an additional peephole below the existing
                                                                                                                               peephole.
                                                                                                                               Photos: 0496
174    Door –             Is the threshold no more than ½” higher        11B-        1133B.2.4.1   4.13.8          404.2.5     Barrier: The sliding door threshold track is higher than ¾”, it is 2” high
       Threshold Height   than the floor level at either side? (1998),   404.2.5                                               comprising vertical edges at each side.
       at Living Room     ¾” at exterior sliding doors? (ADAAG).                                                               Barrier Removal: Remove and replace the sliding door and frame
       Sliding                                                                                                                 with one with a semi recessed bottom track, or alternately, replace the
       Patio/Balcony                                                                                                           sliding door with a pair of swinging doors with a standard threshold.
       Door                                                                                                                    Photos: 0501


       [3775161.1]                                                                                                                                                                     24
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       Brookdale – Brookhurst Facility                                                                               Access Compliance Evaluation Survey Barrier Report
       15302 Brookhurst St., Westminster, CA 92683                                                                  Survey Date: June 19, 2019 / Report Date: August 5, 2021
Item   Element             Item Requirement                               2019 CBC     1998 CBC        ADAAG         2010 ADA     Barrier, Barrier Removal and Photos
                                                                                        & CPC                        Standards

175    Door – Hardware     Is the door hardware operable without          11B-309.4    1117B.6.4     4.13.9          309.4        Barrier: the lock requires pinching and twisting of the wrist to operate.
       Use at Bedroom      requiring tight grasping, pinching, twisting                                                           Barrier Removal: replace lockset.
       Entrance            of the wrist, more than one hand or                                                                    Photos: 0504
                           greater than 5 pounds force?
176    Controls - Height   Is the control accessed by a parallel          11B-         1118B.5 &     4.2.5 & 6       308.2.1      Barrier: the window covering control is located higher than 54” AFF it
       of Blinds Control   approach no higher than 54” AFF? (1998         308.2.1      6                                          is 60” AFF.
       at Bedroom          CBC and ADAAG).                                                                                        Barrier Removal: provide longer wand(s) to extend down to within 48”
       Window                                                                                                                     of the floor level.
                                                                                                                                  Photos:0507
177    Controls – Use      Is the window hardware operable without        11B-309.4    1117B.6.4     4.27.4          309.4        Barrier: the window lock requires pinching and twisting of the wrist to
       of Bedroom          requiring tight grasping, pinching, twisting                                                           operate.
       Window Opening      of the wrist, more than one hand or                                                                    Barrier Removal: provide accessible lock.
       Hardware            greater than 5 pounds force?                                                                           Photos: 0507 thru 0509
178    Controls – Use      Is the window hardware operable without        11B-309.4    1117B.6.4     4.27.4 & 28     309.4 & 28   Barrier: the window requires 20 lbs. force to open.
       of Bedroom          requiring tight grasping, pinching, twisting   & 11B-108    &             CFR             CFR          Barrier Removal: conduct maintenance on window sliding
       Window Opening      of the wrist, more than one hand or                         1101B.3.1&    §36.211         §36.211      components.
       Hardware            greater than 5 pounds force?                                2                                          Photos: 0507 thru 0509 & 0519
179    Door – Hardware     Is the door hardware operable without          11B-309.4    1117B.6.4     4.13.9          309.4        Barrier: the lock requires pinching and twisting of the wrist to operate.
       Use at Bathroom     requiring tight grasping, pinching, twisting                                                           Barrier Removal: replace hardware set.
                           of the wrist, more than one hand or                                                                    Photos: 0510 & 0511
                           greater than 5 pounds force?
180    Coat Hook           Is the element accessed by forward             11B-         1118B.5 &     4.2.5 & 6       308.2.1      Barrier: The coat hook is located higher than 48” AFF; it is 60“ AFF.
       Height at           approach no higher than48” AFF?                308.2.1      6                                          Barrier Removal: Relocate coat hook or provide a second lower coat
       Bathroom                                                                                                                   hook.
                                                                                                                                  Photos: 0511
181    Storage – Reach     Where the element is accessed by               11B-         1118B.5       4.2.5 & Fig.    308.2.2      Barrier: The medicine cabinet is too high, measured at 49.75“AFF;
       Range of            forward approach over an obstruction, is       308.2.2                    5(b)                         and there is no knee and toe space provided under the counter
       Medicine            the height a maximum 48” AFF when                                                                      obstruction.
       Cabinet at          within 20” of the front of the obstruction                                                             Barrier Removal: Lower the recessed medicine cabinet and provide
       Bathroom            and is knee and toe clearance provided                                                                 knee and toe clearance at the lavatory.
                           under the obstruction to the same                                                                      Photos: 0515 & 0518
                           extent?
182    Lavatory – Knee     Is knee and toe clearance provided so          11B-606.2    1115B.9.1.1   4.19.3          606.2        Barrier: the lavatory is provided with a base cabinet that provides no
       and Toe             that the clear space extends at least 19”                                                              knee and toe clearance under the lavatory.
       Clearance at        under the lavatory?                                                                                    Barrier Removal: modify the base cabinet to provide knee and toe
       Bathroom                                                                                                                   clearance.
                                                                                                                                  Photos: 0514
183    Toilet –            Is the distance from the side wall to the      11B-         1115B.7.2     4.16.2 &        604.3.1      Barrier: the distance from the wall to the lavatory counter is less than
       Clearance at        nearest obstruction minimum 60”?               604.3.1                    Fig. 28                      60”, measured at 51“. The distance between the toilet and the lavatory
       Side at             (current standards) minimum 48” to the                                                                 counter is less than 28”, measured at 21.5” to the lavatory counter.
       Bathroom            wall and 36” to lavatory? (ADAAG)                                                                      Barrier Removal: Modify the lavatory counter in order to provide more
                           minimum 28” between the toilet and                                                                     clearance.
                           lavatory? (the 1998 CBC).                                                                              Photos: 0529, 0530 & 0518
184    Grab Bar –          Is the area minimum 12” above the grab         11 B-609.3   1133B.4.2.5   4.26.2          609.3        Barrier: The area above the rear grab bar is obstructed by a wall-
       Obstructed          bar and minimum 1.5” below and at sides                     ,1133B.5.5.                                mounted cabinet located 10.25” above the top of the bar. minimum.
       Above/Below at      of the grab bar clear of projecting                         1 & Fig.                                   Barrier Removal: Remove the cabinet.
       Bathroom            elements?                                                   11B-36                                     Photos: 0522 & 0523




       [3775161.1]                                                                                                                                                                        25
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       Brookdale – Brookhurst Facility                                                                             Access Compliance Evaluation Survey Barrier Report
       15302 Brookhurst St., Westminster, CA 92683                                                                Survey Date: June 19, 2019 / Report Date: August 5, 2021
Item   Element            Item Requirement                               2019 CBC    1998 CBC       ADAAG          2010 ADA    Barrier, Barrier Removal and Photos
                                                                                      & CPC                        Standards

185    Grab Bar –         Does the side grab bar extend a                11B-        1115B.8.1     4.17.6 &        604.5.1     Barrier: The Side grab bar does not begin within 12” of the rear wall,
       Location of Side   minimum of 54” from the rear wall?             604.5.1                   Fig. 29 & 30                measured at beginning 14.5” from the rear wall.
       Bar                (current CBC and ADA and ADAAG)                                                                      Barrier Removal: Relocate the grab bar.
                          extend a minimum of 24” in front of the                                                              Photos: 0525
                          toilet? (1998 and 2019 CBC). Does the
                          side grab bar begin a maximum of 12”
                          from the rear wall?
186    Shower –           Is the entrance to the shower free of a        11B-608.7   1115B.6.2.2   4.21.7          608.7       Barrier: the shower threshold is 0.875” high when compressed under
       Threshold at       raised threshold or curb? (ADAAG) or a                                                               load.
       Bathroom           threshold that is ½” maximum and                                                                     Barrier Removal: remove threshold
                          beveled 1:1? (1998 CBC                                                                               Photos:0533
187    Shower – Floor     Is the shower floor surface sloped a           11B-609.9   1115B.6.2.4   4.37            309         Barrier: the drain is depressed ½” below the level of the adjacent
       Level at           maximum of 1:48 (2.1%) and drains flush                    .4                                        shower floor.
       Bathroom           with the surface? (1998 and 2019 CBC                                                                 Barrier Removal: provide a spacer to raise the drain cover to be flush
                          and ADAAG) conforming to level change                                                                with the shower floor.
                          requirements for an accessible route?                                                                Photos: 0533
                          (2010 ADA).
188    Shower – Seat      Is the seat located so that in the             11B-        1115B.6.2.4   4.21.3          610.3.1     Barrier: the seat is located so that there is a 2” gap between the edge
       Clearance to       deployed position the rear edge is within      610.3.1     .5                                        of the seat and the side wall, rather than 1.5” maximum.
       Wall at Den        2.5” of the wall and the side edge within                                                            Barrier Removal: Adjust position of seat on folding support. folding
       Bathroom           1.5” of the wall?                                                                                    seat
                                                                                                                               Photos: 0518
189    Shower –           Is a handheld spray unit provided              11B-        1115B.6.2.4   4.2.5 & 6       308.2.1     Barrier: the stationary handheld shower bracket is located 64” above
       Handheld           mounted at a maximum height of 48”             308.2.1     .2                                        the shower floor level.
       Sprayer Mount      above the shower floor? Note: one of two                                                             Barrier Removal: provide a lower bracket.
       Height at Den      bathrooms provided where only one                                                                    Photos: 0534
       Bathroom           accessible bathroom is required.
      Room 215 – Vacant One Bedroom
Room 215 – Vacant One Bedroom
Designated as Unit-A on building plans at 496 SF, including a bathroom with roll-in shower, a wet bar, a living room area with access to the balcony and a bedroom
area with window.
190    Door – Hardware    Is the door hardware operable without          11B-309.4   1117B.6.4     4.13.9          309.4       Barrier: the deadbolt lock requires pinching and twisting of the wrist to
       Use at Unit        requiring tight grasping, pinching, twisting                                                         operate.
       Entrance           of the wrist, more than one hand or                                                                  Barrier Removal: provide an additional deadbolt with accessible
                          greater than 5 pounds force?                                                                         handle.
                                                                                                                               Photos: 0562 & 0563
191    Door – Peephole    Are door vision panels no higher than 43”      11B-        N/A           28 CFR §        404.2.11    Barrier: The peephole is located too high to be usable by a person in
       Height at Unit     AFF?                                           404.2.11                  36.202                      a wheelchair or of low stature, measured at 59” AFF.
       Entrance                                                                                                                Barrier Removal: add an additional peephole below the existing
                                                                                                                               peephole.
                                                                                                                               Photos: 0563
192    Door – Hardware    Is the door hardware operable without          11B-309.4   1117B.6.4     4.13.9          309.4       Barrier: the lock requires pinching and twisting of the wrist to operate.
       Use at Bathroom    requiring tight grasping, pinching, twisting                                                         Barrier Removal: replace hardware set.
                          of the wrist, more than one hand or                                                                  Photos: 0569
                          greater than 5 pounds force?
193    Coat Hook          Is the element accessed by forward             11B-        1118B.5 &     4.2.5 & 6       308.2.1     Barrier: The coat hook is located higher than 48” AFF; at 60“ AFF.
       Height at          approach no higher than 48” AFF?               308.2.1     6                                         Barrier Removal: Relocate coat hook or provide a second lower coat
       Bathroom                                                                                                                hook.
                                                                                                                               Photos: 0569

       [3775161.1]                                                                                                                                                                    26
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       Brookdale – Brookhurst Facility                                                                             Access Compliance Evaluation Survey Barrier Report
       15302 Brookhurst St., Westminster, CA 92683                                                                Survey Date: June 19, 2019 / Report Date: August 5, 2021
Item   Element            Item Requirement                               2019 CBC    1998 CBC        ADAAG         2010 ADA    Barrier, Barrier Removal and Photos
                                                                                      & CPC                        Standards

194    Storage – Reach    Where the element is accessed by               11B-        1118B.5       4.2.5 & Fig.    308.2.2     Barrier: The medicine cabinet is too high, at 55“AFF; and there is no
       Range of           forward approach over an obstruction, is       308.2.2                   5(b)                        knee and toe space provided under the counter obstruction.
       Medicine           the height a maximum 48” AFF when                                                                    Barrier Removal: Lower the recessed medicine cabinet and provide
       Cabinet in         within 20” of the front of the obstruction                                                           knee and toe clearance at the lavatory.
       Bathroom           and is knee and toe clearance provided                                                               Photos: 0571
                          under the obstruction to the same
                          extent?
195    Lavatory – Knee    Is knee and toe clearance provided so          11B-606.2   1115B.9.1.1   4.19.3          606.2       Barrier: the lavatory is provided with a base cabinet that provides no
       and Toe            that the clear space extends at least 19”                                                            knee and toe clearance under the lavatory.
       Clearance at       under the lavatory?                                                                                  Barrier Removal: modify the base cabinet to provide knee and toe
       Bathroom                                                                                                                clearance.
                                                                                                                               Photos: 0571
196    Shower –           Is the entrance to the shower free of a        11B-608.7   1115B.6.2.2   4.21.7          608.7       Barrier: the shower threshold is 01.375” high (note: this is a hard
       Threshold at       raised threshold or curb? (ADAAG) or a                                                               threshold that does not compress).
       Bathroom           threshold that is ½” maximum and                                                                     Barrier Removal: remove threshold
                          beveled 1:1? (1998 CBC)                                                                              Photos: 0574
197    Shower – Floor     Is the shower floor surface sloped a           11B-609.9   1115B.6.2.4   4.37            309         Barrier: the drain is depressed ½” below the level of the adjacent
       Level at           maximum of 1:48 (2.1%) and drains flush                    .4                                        shower floor.
       Bathroom           with the surface? (1998 and 2019 CBC                                                                 Barrier Removal: provide a spacer to raise the drain cover to be flush
                          and ADAAG) conforming to level change                                                                with the shower floor.
                          requirements for an accessible route?                                                                Photos: 0570
                          (2010 ADA).
       Room 103 – Occupied One Bedroom
Room 103 – Occupied One Bedroom
Designated as Unit-C on building plans at 629 SF, including a wet bar, a living room area with window and access to the patio and a bedroom area with window and
a bathroom with roll-in shower. I was permitted to capture photographs in a limited manner to protect the privacy of the occupant. I found the physical conditions to
be similar in this occupied unit to those of the unoccupied suites with regard to accessibility and having the same barriers
198    Door – Hardware    Is the door hardware operable without          11B-309.4   1117B.6.4     4.13.9          309.4       Barrier: the deadbolt lock requires pinching and twisting of the wrist to
       Use at Unit        requiring tight grasping, pinching, twisting                                                         operate.
       Entrance           of the wrist, more than one hand or                                                                  Barrier Removal: provide an additional deadbolt with accessible
                          greater than 5 pounds force?                                                                         handle.
                                                                                                                               Photos: 0701 & 0703
199    Door – Peephole    Are door vision panels no higher than 43”      11B-        N/A           28 CFR §        404.2.11    Barrier: The peephole is located too high to be usable by a person in
       Height at Unit     AFF?                                           404.2.11                  36.202                      a wheelchair or of low stature, measured at 59.5” AFF.
       Entrance                                                                                                                Barrier Removal: add an additional peephole below the existing
                                                                                                                               peephole.
                                                                                                                               Photos: 0702 & 731
200    Door – Clear       Is the minimum clear width at the sliding      11B-        1133B.2.2     4.13.5          404.2.3     Barrier: The clear width is less than 32”, measured at 30.75” because
       Width at living    door 32” minimum?.                             404.2.3                                               a bumper prevents the door from opening fully.
       Room Sliding                                                                                                            Barrier Removal: modify or replace bumper so that the door can
       Patio Door                                                                                                              open to the extent that it provides minimum 32” clear.
                                                                                                                               Photos: 0693 & 0696
201    Door –             Is the threshold no more than ½” higher        11B-        1133B.2.4.1   4.13.8          404.2.5     Barrier: The sliding door threshold track is higher than ¾”, measured
       Threshold Height   than the floor level at either side? (1998     404.2.5                                               at 1.375” comprising vertical edges at each side.
       at Living Room     ), ¾” at exterior sliding doors? (ADAAG).                                                            Barrier Removal: Remove and replace the sliding door and frame
       Sliding Patio                                                                                                           with one with a semi recessed bottom track, or alternately, replace the
       Door                                                                                                                    sliding door with a pair of swinging doors with a standard threshold.
                                                                                                                               Photos: 0693, 0695, 0697, 0698 & 0700

       [3775161.1]                                                                                                                                                                    27
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       Brookdale – Brookhurst Facility                                                                              Access Compliance Evaluation Survey Barrier Report
       15302 Brookhurst St., Westminster, CA 92683                                                                 Survey Date: June 19, 2019 / Report Date: August 5, 2021
Item   Element             Item Requirement                               2019 CBC    1998 CBC        ADAAG         2010 ADA    Barrier, Barrier Removal and Photos
                                                                                       & CPC                        Standards

202    Door – Hardware     Is the door hardware operable without          11B-309.4   1117B.6.4     4.13.9          309.4       Barrier: the lock requires pinching and twisting of the wrist to operate.
       Use at Bedroom      requiring tight grasping, pinching, twisting                                                         Barrier Removal: replace hardware set.
       Entrance            of the wrist, more than one hand or                                                                  Photos: 0709
                           greater than 5 pounds force? Note: one
                           of two bathrooms provided where only
                           one accessible bathroom is required.
203    Controls - Height   Is the control accessed by a parallel          11B-        1118B.5 &     4.2.5 & 6       308.2.1     Barrier: the window covering control is located higher than 54” AFF;
       of Blinds Control   approach no higher than 48” AFF?               308.2.1     6                                         at 64” AFF.
       at Bedroom          (current standards) 54” AFF? (1998 and                                                               Barrier Removal: provide longer wand(s) to extend down to within 48”
       Window              ADAAG).                                                                                              of the floor level.
                                                                                                                                Photos: 0711
204    Controls - Height   Is the control accessed by a parallel          11B-        1118B.5 &     4.2.5 & 6       308.2.1     Barrier: the window covering control is located higher than 54” AFF;
       of Window Latch     approach no higher than 48” AFF?               308.2.1     6                                         at 63” AFF.
       at Bedroom          (current standards) 54” AFF? (1998 and                                                               Barrier Removal: provide longer wand(s) to extend down to within 48”
       Window              ADAAG).                                                                                              of the floor level.
                                                                                                                                Photos: 0712 & 0713
205    Door – Hardware     Is the door hardware operable without          11B-309.4   1117B.6.4     4.13.9          309.4       Barrier: the lock requires pinching and twisting of the wrist to operate.
       Use at Bathroom     requiring tight grasping, pinching, twisting                                                         Barrier Removal: replace hardware set.
                           of the wrist, more than one hand or                                                                  Photos: 0719
                           greater than 5 pounds force?
206    Coat Hook           Is the element accessed by forward             11B-        1118B.5 &     4.2.5 & 6       308.2.1     Barrier: The coat hook is located higher than 48” AFF; Measured at
       Height at Den       approach no higher than48” AFF?                308.2.1     6                                         60“ AFF.
       Bathroom                                                                                                                 Barrier Removal: Relocate coat hook or provide a second lower coat
                                                                                                                                hook.
                                                                                                                                Photos: 0719 & 0722
207    Storage – Reach     Where the element is accessed by               11B-        1118B.5       4.2.5 & Fig.    308.2.2     Barrier: The medicine cabinet is too high, at 55” AFF; and there is no
       Range of            forward approach over an obstruction, is       308.2.2                   5(b)                        knee and toe space provided under the counter obstruction.
       Medicine            the height a maximum 48” AFF when                                                                    Barrier Removal: Lower the recessed medicine cabinet and provide
       Cabinet in Den      within 20” of the front of the obstruction                                                           knee and toe clearance at the lavatory.
       Bathroom            and is knee and toe clearance provided                                                               Photos: none
                           under the obstruction to the same
                           extent?
208    Lavatory – Knee     Is knee and toe clearance provided so          11B-606.2   1115B.9.1.1   4.19.3          606.2       Barrier: the lavatory is provided with a base cabinet that provides no
       and Toe             that the clear space extends at least 19”                                                            knee and toe clearance under the lavatory.
       Clearance at        under the lavatory? Note: one of two                                                                 Barrier Removal: modify the base cabinet to provide knee and toe
       Den Bathroom        bathrooms provided where only one                                                                    clearance.
                           accessible bathroom is required.                                                                     Photos: 0730
209    Toilet –            Is the distance from the side wall to the      11B-        1115B.7.2     4.16.2 &        604.3.1     Barrier: the distance between side wall and the lavatory counter is not
       Clearance at        nearest obstruction minimum 60”?               604.3.1                   Fig. 28                     60” minimum, measured at 51“. The distance between the toilet and
       Side at             (current standards) minimum 48” to the                                                               the lavatory counter is less than 28”, Measured at 24.5” to the lavatory
       Bathroom            wall and 36” to lavatory? (ADAAG)                                                                    counter.
                           minimum 28” between the toilet and                                                                   Barrier Removal: Modify the lavatory counter in order to provide more
                           lavatory? (the 1998 CBC).                                                                            clearance.
                                                                                                                                Photos: 0729 & 0730
210    Toilet – Location   Is the flush valve located on the wide         11B-604.6   1502.0        4.16.5          604.6       Barrier: The flush valve is located at the wall side of the toilet area
       of flush Valve      side of the toilet area?                                                                             rather than the wide side.
       Control at                                                                                                               Barrier Removal: Replace flush tank with one with the flush valve
       Bathroom                                                                                                                 handle located at the wide side.
                                                                                                                                Photos: 0726


       [3775161.1]                                                                                                                                                                      28
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       Brookdale – Brookhurst Facility                                                                               Access Compliance Evaluation Survey Barrier Report
       15302 Brookhurst St., Westminster, CA 92683                                                                  Survey Date: June 19, 2019 / Report Date: August 5, 2021
Item   Element            Item Requirement                                2019 CBC     1998 CBC        ADAAG         2010 ADA    Barrier, Barrier Removal and Photos
                                                                                        & CPC                        Standards

211    Toilet – Toilet    Is the centerline of the toilet paper           11B-         1115B.9.3     4.16.6 &        604.7.1     Barrier: The location of this dispenser does not conform to any
       Paper Dispenser    dispenser located 7” to 9” from the front       604.7.1      & Fig. 85     Fig. 29(b)                  standard: The centerline of the dispenser is not 7” to 9” in front of the
       Location at        of the toilet to the centerline of the                                                                 front of the toilet, nor within 12” of the front of the toilet, nor within 36”
       Bathroom           dispenser? (current standards) located                                                                 of the back wall. It is located more than 36” from the rear wall and 13”
                          within 12” from the front of the toilet? (the                                                          in front of the toilet.
                          1998 CBC) entire dispenser within 36” of                                                               Barrier Removal: Relocate the surface mounted toilet paper
                          the rear wall? (the ADAAG).                                                                            dispenser
                                                                                                                                 Photos: 0725
212    Grab Bar –         Is the area minimum 12” above the grab          11 B-609.3   1133B.4.2.5   4.26.2          609.3       Barrier: The area above and to the sides of the rear grab bar are not
       Obstructed         bar and minimum 1.5” below and at sides                      ,1133B.5.5.                               clear; a cabinet obstructs the gripping areas of the grab bar.
       Above/Below at     of the grab bar clear of projecting                          1 & Fig.                                  Barrier Removal: Remove the cabinet.
       Bathroom           elements?                                                    11B-36                                    Photos: 0726
213    Grab Bar –         Does the side grab bar extend a                 11B-         1115B.8.1     4.17.6 &        604.5.1     Barrier: The Side grab bar does not begin within 12” of the rear wall,
       Location of Side   minimum of 54” from the rear wall?              604.5.1                    Fig. 29 & 30                measured at 14.75” from rear wall.
       Bar at             (ADAAG) and extend a minimum of 24”                                                                    Barrier Removal: Relocate the grab bar.
       Bathroom           in front of the toilet? ( CBC). Does the                                                               Photos: 0727
                          side grab bar begin a maximum of 12”
                          from the rear wall?
214    Shower –           Is the entrance to the shower free of a         11B-608.7    1115B.6.2.2   4.21.7          608.7       Barrier: the shower threshold is 1.0” high when compressed under
       Threshold at       raised threshold or curb? (ADAAG) or a                                                                 load.
       Bathroom           threshold that is ½” maximum and                                                                       Barrier Removal: remove threshold
                          beveled 1:1? (1998 CBC) threshold that                                                                 Photos: 0720
                          is ½” maximum with the portion between
                          ¼” high and ½” high sloping at 1:2?
                          (current standards).
215    Shower – Floor     Is the shower floor surface sloped a            11B-609.9    1115B.6.2.4   4.37            309         Barrier: the drain is depressed ½” below the level of the adjacent
       Level at           maximum of 1:48 (2.1%) and drains flush                      .4                                        shower floor.
       Bathroom           with the surface? (1998 and CBC and                                                                    Barrier Removal: provide a spacer to raise the drain cover to be flush
                          ADAAG) conforming to level change                                                                      with the shower floor.
                          requirements for an accessible route?                                                                  Photos: 0718 & 0721
                          (2010 ADA).
216    Shower – Seat      Is the seat located so that in the              11B-         1115B.6.2.4   4.21.3          610.3.1     Barrier: the seat is located so that there is a 3” gap between the edge
       Clearance to       deployed position the rear edge is within       610.3.1      .5                                        of the seat and the side wall, rather than 1.5” maximum.
       Wall at Den        2.5” of the wall and the side edge within                                                              Barrier Removal: relocate folding seat on wall.
       Bathroom           1.5” of the wall?                                                                                      Photos: 0723




       Jeff Mastin, CASp-0088




       [3775161.1]                                                                                                                                                                           29
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0002                              Brookhurst # 0003




   Brookhurst # 0005                              Brookhurst # 0006




   Brookhurst # 0008                              Brookhurst # 0009
                                1
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0010                              Brookhurst # 0012




   Brookhurst # 0016                              Brookhurst # 0018




   Brookhurst # 0019                              Brookhurst # 0020
                                2
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0021                              Brookhurst # 0022




   Brookhurst # 0026                              Brookhurst # 0027




   Brookhurst # 0028                              Brookhurst # 0030
                                3
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0031                              Brookhurst # 0032




   Brookhurst # 0033                              Brookhurst # 0041




   Brookhurst # 0085                              Brookhurst # 0086
                                4
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0087                              Brookhurst # 0088




   Brookhurst # 0089                              Brookhurst # 0090




   Brookhurst # 0091                              Brookhurst # 0092
                                5
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0093                              Brookhurst # 0094




   Brookhurst # 0095                              Brookhurst # 0096




   Brookhurst # 0097                              Brookhurst # 0098
                                6
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0100                              Brookhurst # 0104




   Brookhurst # 0105                              Brookhurst # 0106




   Brookhurst # 0107                              Brookhurst # 0108
                                7
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0109                              Brookhurst # 0110




   Brookhurst # 0113                              Brookhurst # 0114




   Brookhurst # 0115                              Brookhurst # 0116
                                8
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0117                              Brookhurst # 0118




   Brookhurst # 0119                              Brookhurst # 0123




   Brookhurst # 0124                              Brookhurst # 0125
                                9
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0126                              Brookhurst # 0129




   Brookhurst # 0130                              Brookhurst # 0131




   Brookhurst # 0132                              Brookhurst # 0133
                                10
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0134                              Brookhurst # 0135




   Brookhurst # 0136                              Brookhurst # 0141




   Brookhurst # 0142                              Brookhurst # 0143
                                11
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0144                              Brookhurst # 0145




   Brookhurst # 0146                              Brookhurst # 0147




   Brookhurst # 0148                              Brookhurst # 0149
                                12
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0152                              Brookhurst # 0154




   Brookhurst # 0155                              Brookhurst # 0156




   Brookhurst # 0157                              Brookhurst # 0161
                                13
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0162                              Brookhurst # 0163




   Brookhurst # 0164                              Brookhurst # 0165




   Brookhurst # 0166                              Brookhurst # 0168
                                14
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0170                              Brookhurst # 0171




   Brookhurst # 0172                              Brookhurst # 0173




   Brookhurst # 0174                              Brookhurst # 0175
                                15
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0176                              Brookhurst # 0177




   Brookhurst # 0178                              Brookhurst # 0179




   Brookhurst # 0180                              Brookhurst # 0181
                                16
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0183                              Brookhurst # 0185




   Brookhurst # 0187                              Brookhurst # 0188




   Brookhurst # 0191                              Brookhurst # 0192
                                17
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0193                              Brookhurst # 0195




   Brookhurst # 0196                              Brookhurst # 0197




   Brookhurst # 0198                              Brookhurst # 0212
                                18
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0213                              Brookhurst # 0214




   Brookhurst # 0215                              Brookhurst # 0216




   Brookhurst # 0220                              Brookhurst # 0221
                                19
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0222                              Brookhurst # 0223




   Brookhurst # 0239                              Brookhurst # 0240




   Brookhurst # 0242                              Brookhurst # 0247
                                20
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0249                              Brookhurst # 0250




   Brookhurst # 0251                              Brookhurst # 0252




   Brookhurst # 0253                              Brookhurst # 0255
                                21
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0258                              Brookhurst # 0259




   Brookhurst # 0260                              Brookhurst # 0261




   Brookhurst # 0264                              Brookhurst # 0265
                                22
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0267                              Brookhurst # 0268




   Brookhurst # 0269                              Brookhurst # 0270




   Brookhurst # 0271                              Brookhurst # 0273
                                23
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0274                              Brookhurst # 0275




   Brookhurst # 0276                              Brookhurst # 0277




   Brookhurst # 0278                              Brookhurst # 0279
                                24
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0280                              Brookhurst # 0282




   Brookhurst # 0283                              Brookhurst # 0284




   Brookhurst # 0285                              Brookhurst # 0286
                                25
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0287                              Brookhurst # 0288




   Brookhurst # 0289                              Brookhurst # 0294




   Brookhurst # 0295                              Brookhurst # 0296
                                26
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0300                              Brookhurst # 0303




   Brookhurst # 0304                              Brookhurst # 0307




   Brookhurst # 0308                              Brookhurst # 0309
                                27
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0310                              Brookhurst # 0311




   Brookhurst # 0316                              Brookhurst # 0317




   Brookhurst # 0318                              Brookhurst # 0319
                                28
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0320                              Brookhurst # 0322




   Brookhurst # 0324                              Brookhurst # 0328




   Brookhurst # 0330                              Brookhurst # 0331
                                29
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0332                              Brookhurst # 0333




   Brookhurst # 0335                              Brookhurst # 0336




   Brookhurst # 0339                              Brookhurst # 0340
                                30
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0341                              Brookhurst # 0342




   Brookhurst # 0343                              Brookhurst # 0344




   Brookhurst # 0345                              Brookhurst # 0346
                                31
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0350                              Brookhurst # 0358




   Brookhurst # 0360                              Brookhurst # 0361




   Brookhurst # 0362                              Brookhurst # 0363
                                32
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0366                              Brookhurst # 0369




   Brookhurst # 0372                              Brookhurst # 0373




   Brookhurst # 0374                              Brookhurst # 0375
                                33
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0376                              Brookhurst # 0380




   Brookhurst # 0381                              Brookhurst # 0382




   Brookhurst # 0385                              Brookhurst # 0386
                                34
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0387                              Brookhurst # 0388




   Brookhurst # 0389                              Brookhurst # 0390




   Brookhurst # 0392                              Brookhurst # 0393
                                35
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0394                              Brookhurst # 0396




   Brookhurst # 0398                              Brookhurst # 0399




   Brookhurst # 0400                              Brookhurst # 0402
                                36
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0403                              Brookhurst # 0406




   Brookhurst # 0407                              Brookhurst # 0408




   Brookhurst # 0409                              Brookhurst # 0412
                                37
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0413                              Brookhurst # 0414




   Brookhurst # 0415                              Brookhurst # 0417




   Brookhurst # 0418                              Brookhurst # 0419
                                38
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0421                              Brookhurst # 0422




   Brookhurst # 0426                              Brookhurst # 0428




   Brookhurst # 0429                              Brookhurst # 0430
                                39
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0431                              Brookhurst # 0432




   Brookhurst # 0434                              Brookhurst # 0435




   Brookhurst # 0436                              Brookhurst # 0437
                                40
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0438                              Brookhurst # 0439




   Brookhurst # 0441                              Brookhurst # 0443




   Brookhurst # 0445                              Brookhurst # 0446
                                41
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0447                              Brookhurst # 0452




   Brookhurst # 0453                              Brookhurst # 0454




   Brookhurst # 0455                              Brookhurst # 0456
                                42
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0457                              Brookhurst # 0458




   Brookhurst # 0459                              Brookhurst # 0460




   Brookhurst # 0461                              Brookhurst # 0466
                                43
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0467                              Brookhurst # 0468




   Brookhurst # 0469                              Brookhurst # 0470




   Brookhurst # 0471                              Brookhurst # 0472
                                44
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0473                              Brookhurst # 0474




   Brookhurst # 0475                              Brookhurst # 0476




   Brookhurst # 0479                              Brookhurst # 0480
                                45
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0481                              Brookhurst # 0482




   Brookhurst # 0485                              Brookhurst # 0487




   Brookhurst # 0493                              Brookhurst # 0494
                                46
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   Brookhurst # 0495                              Brookhurst # 0496




   Brookhurst # 0499                              Brookhurst # 0500




   Brookhurst # 0501                              Brookhurst # 0504
                                47
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0507                              Brookhurst # 0508




   Brookhurst # 0509                              Brookhurst # 0510




   Brookhurst # 0511                              Brookhurst # 0514
                                48
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0515                              Brookhurst # 0516




   Brookhurst # 0517                              Brookhurst # 0518




   Brookhurst # 0519                              Brookhurst # 0522
                                49
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0523                              Brookhurst # 0524




   Brookhurst # 0525                              Brookhurst # 0528




   Brookhurst # 0529                              Brookhurst # 0530
                                50
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   Brookhurst # 0533                              Brookhurst # 0534




   Brookhurst # 0537                              Brookhurst # 0538




   Brookhurst # 0539                              Brookhurst # 0540
                                51
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0552                              Brookhurst # 0553




   Brookhurst # 0554                              Brookhurst # 0558




   Brookhurst # 0562                              Brookhurst # 0563
                                52
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0564                              Brookhurst # 0565




   Brookhurst # 0569                              Brookhurst # 0570




   Brookhurst # 0571                              Brookhurst # 0572
                                53
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0573                              Brookhurst # 0574




   Brookhurst # 0579                              Brookhurst # 0581




   Brookhurst # 0582                              Brookhurst # 0583
                                54
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0584                              Brookhurst # 0587




   Brookhurst # 0588                              Brookhurst # 0589




   Brookhurst # 0590                              Brookhurst # 0591
                                55
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0592                              Brookhurst # 0593




   Brookhurst # 0597                              Brookhurst # 0598




   Brookhurst # 0600                              Brookhurst # 0606
                                56
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0607                              Brookhurst # 0608




   Brookhurst # 0609                              Brookhurst # 0610




   Brookhurst # 0615                              Brookhurst # 0616
                                57
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   Brookhurst # 0617                              Brookhurst # 0618




   Brookhurst # 0624                              Brookhurst # 0625




   Brookhurst # 0626                              Brookhurst # 0627
                                58
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0628                              Brookhurst # 0629




   Brookhurst # 0630                              Brookhurst # 0631




   Brookhurst # 0632                              Brookhurst # 0633
                                59
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0634                              Brookhurst # 0637




   Brookhurst # 0639                              Brookhurst # 0641




   Brookhurst # 0642                              Brookhurst # 0643
                                60
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0644                              Brookhurst # 0645




   Brookhurst # 0646                              Brookhurst # 0647




   Brookhurst # 0648                              Brookhurst # 0649
                                61
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0650                              Brookhurst # 0651




   Brookhurst # 0652                              Brookhurst # 0653




   Brookhurst # 0656                              Brookhurst # 0658
                                62
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0659                              Brookhurst # 0660




   Brookhurst # 0661                              Brookhurst # 0662




   Brookhurst # 0663                              Brookhurst # 0664
                                63
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0665                              Brookhurst # 0666




   Brookhurst # 0667                              Brookhurst # 0668




   Brookhurst # 0669                              Brookhurst # 0670
                                64
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   Brookhurst # 0671                              Brookhurst # 0672




   Brookhurst # 0673                              Brookhurst # 0674




   Brookhurst # 0675                              Brookhurst # 0676
                                65
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0677                              Brookhurst # 0678




   Brookhurst # 0679                              Brookhurst # 0680




   Brookhurst # 0681                              Brookhurst # 0682
                                66
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0683                              Brookhurst # 0684




   Brookhurst # 0685                              Brookhurst # 0686




   Brookhurst # 0687                              Brookhurst # 0688
                                67
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0689                              Brookhurst # 0690




   Brookhurst # 0693                              Brookhurst # 0695




   Brookhurst # 0696                              Brookhurst # 0697
                                68
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0698                              Brookhurst # 0700




   Brookhurst # 0701                              Brookhurst # 0702




   Brookhurst # 0703                              Brookhurst # 0706
                                69
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0707                              Brookhurst # 0709




   Brookhurst # 0711                              Brookhurst # 0712




   Brookhurst # 0713                              Brookhurst # 0718
                                70
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0719                              Brookhurst # 0720




   Brookhurst # 0721                              Brookhurst # 0722




   Brookhurst # 0723                              Brookhurst # 0725
                                71
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   Brookhurst # 0726                              Brookhurst # 0727




   Brookhurst # 0728                              Brookhurst # 0729




   Brookhurst # 0730                              Brookhurst # 0731
                                72
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0735                              Brookhurst # 0736




   Brookhurst # 0739                              Brookhurst # 0743




   Brookhurst # 0744                              Brookhurst # 0745
                                73
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0747                              Brookhurst # 0748




   Brookhurst # 0749                              Brookhurst # 0750




   Brookhurst # 0751                              Brookhurst # 0752
                                74
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   Brookhurst # 0755                              Brookhurst # 0756




   Brookhurst # 0757                              Brookhurst # 0758




   Brookhurst # 0759                              Brookhurst # 0760
                                75
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0761                              Brookhurst # 0765




   Brookhurst # 0766                              Brookhurst # 0767




   Brookhurst # 0768                              Brookhurst # 0769
                                76
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0771                              Brookhurst # 0773




   Brookhurst # 0776                              Brookhurst # 0777




   Brookhurst # 0778                              Brookhurst # 0779
                                77
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0780                              Brookhurst # 0781




   Brookhurst # 0782                              Brookhurst # 0783




   Brookhurst # 0784                              Brookhurst # 0788
                                78
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0789                              Brookhurst # 0790




   Brookhurst # 0791                              Brookhurst # 0792




   Brookhurst # 0793                              Brookhurst # 0794
                                79
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0795                              Brookhurst # 0796




   Brookhurst # 0797                              Brookhurst # 0798




   Brookhurst # 0799                              Brookhurst # 0800
                                80
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0801                              Brookhurst # 0802




   Brookhurst # 0803                              Brookhurst # 0804




   Brookhurst # 0805                              Brookhurst # 0806
                                81
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0808                              Brookhurst # 0809




   Brookhurst # 0810                              Brookhurst # 0811




   Brookhurst # 0812                              Brookhurst # 0817
                                82
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0820                              Brookhurst # 0821




   Brookhurst # 0822                              Brookhurst # 0823




   Brookhurst # 0824                              Brookhurst # 0825
                                83
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Photos: Brookhurst, 15302 Brookhurst St., Westminster CA 92683




   Brookhurst # 0831




                                84
